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                     IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF COLUMBIA


LARRY KLAYMAN
7050 W. Palmetto Park Rd
Boca Raton, FL, 33433

                Plaintiff,                     COMPLAINT
v.

MATTHEW KAISER
c/o 1099 14th St NW
8th Floor West
Washington, DC, 20005

and


JULIA PORTER
515 5th St NW
Washington, DC 20001

and

HAMILTON FOX, III,
515 5th St NW
Washington, DC 20001

and

LAWRENCE K. BLOOM
515 5th St NW
Washington, DC 20001

and

JOHN DOES 1 TO 5
515 5th Street NW
Washington, D.C. 20001


                Defendants.




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                                          COMPLAINT

       Plaintiff LARRY KLAYMAN (“Plaintiff or Mr. Klayman”) hereby files this action

against MATTHEW KAISER (“Kaiser”), JULIA PORTER (“Porter”), HAMILTON FOX, III

(“Fox”), H. CLAY SMITH (“Smith”), and LAWRENCE BLOOM (“Bloom”) (collectively

“Defendants”) as joint tortfeasors acting in concert for defamation per se, defamation, and

defamation by implication.

                                   JURISDICTION AND VENUE

       1.      This Court has diversity jurisdiction over this case pursuant to 28 U.S.C. § 1332,

as the parties are completely diverse in citizenship and the amount in controversy exceeds

$75,000.

       2.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(3) in that this is a district in

which the defendants are subject to the court’s personal jurisdiction with respect to this action as

the acts and practices alleged herein occurred and caused damage in this district.

                                         THE PARTIES

       3.      Plaintiff Larry Klayman is a citizen of Florida and resident of Palm Beach

County. He is a public interest and private lawyer, an author, columnist and syndicated radio talk

show host on Radio America, who depends on his credibility and reputation for honestly to earn

a living and to present his message and further his mission to promote an honest government and

legal system. See Exhibit 1; Klayman Sworn Affidavit with Exhibits A through C incorporated

herein by reference.

       4.      Defendant Kaiser is a citizen of District of Columbia and the chairperson of the

District of Columbia Board on Professional Responsibility.




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       5.       Defendant Porter is a citizen of District of Columbia and employed by the District

of Columbia Office of Disciplinary Counsel as Deputy Bar Disciplinary Counsel.

       6.       Defendant Fox is a citizen of District of Columbia and employed by the District

of Columbia Office of Disciplinary Counsel as the Bar Disciplinary Counsel.

       7.       Defendant Smith is a citizen of District of Columbia and employed by the District

of Columbia Office of Disciplinary Counsel as Assistant Bar Counsel.

       8.       Defendant Bloom is a citizen of District of Columbia and employed by the

District of Columbia Office of Disciplinary Counsel as Senior Staff Attorney.


                                   BACKGROUND FACTS

       9.       Defendants, working together in concert, have published malicious, false, and

defamatory statements of and concerning Mr. Klayman to Josh Gerstein (“Gerstein”), a writer

for Politco, a “prominent” leftist publication that is widely known to be anti-conservative and

pro-Democrat party in ideology.

       10.      Defendants published these malicious, false, and defamatory statements of and

concerning Mr. Klayman to Gerstein with the instruction, expectation, and direction to re-publish

them in a Politico article, which Gerstein did, on or about September 16, 2020 (the “Gerstein

Article”)

       11.      On information and belief, the entire Gerstein Article was written at the direction

of Defendants, rendering Defendants liable for all of the false, malicious, and defamatory

statements contained therein, which were calculated to severely damage Plaintiff Klayman and

are on-going.

       12.      Defendants made these false, misleading, deceptive, and defamatory statements

about Mr. Klayman with actual and constitutional malice, and intentionally and maliciously



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intended to severely harm not just Mr. Klayman’s personal and professional reputations but also

to severely harm his public interest advocacy as the founder of both Judicial Watch, Inc. and now

Freedom Watch, Inc., both ethics organizations whose mission is to promote and protect ethics in

government and the legal system as a whole. Mr. Klayman, prior to forming both public interest

groups, was a former prosecutor in the Antitrust Division of the U.S. Department of Justice,

where he was on the trial team that broke up the AT&T monopoly during the Reagan

administration. Mr. Klayman, after years in private practice, and after he left Judicial Watch in

the fall of 2003, ran for the U.S. Senate in his home state of Florida. After the election he formed

Freedom Watch, where he is the president and general counsel today. Mr. Klayman also

practices privately with his law firm Klayman Law Group, P.A., which is a Florida professional

corporation, and the acts and practices alleged herein were intended to intentionally and

maliciously severely harm his private legal practice as well as his clients in this circuit, thus

destroying Mr. Klayman’s and his family’s livelihood and well-being. The acts of Defendants

were also maliciously designed to harm Mr. Klayman’s other endeavors. Plaintiff was at all

material times a member of the District of Columbia Bar for forty (40) years and a member

continuously in good standing of The Florida Bar for 43 years, his having been sworn in when he

as an associate of the Miami law firm of Blackwell, Walker on December 7, 1977.

       13.     Defendants are very partisan leftists and donate heavily and/or are sympathetic to

and support Democrat politicians and government officials who Klayman has sued in his public

interest capacity, as can be confirmed by political donation records of the Federal Election

Commission among other indicia of their leftist ideology. They set out to severely harm and

damag Plaintiff’s legal practices and other endeavors as set forth above, as well to negatively

influence on-going bar disciplinary proceedings and court cases in order to work prejudice




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against Plaintiff Klayman and his mostly conservative activist clients such as Laura Loomer,

Sheriff Joe Apaio, Chief Justice Roy Moore, Cliven Bundy, Dr. Jerome Corsi, Kara Robles,

Demetrick Pennie and others, to name just a few.

       14.     On information and belief, based on objective evidence and a pattern and practice

of similar acts, the Defendants acted in concert with Michael Tigar and Anthony Fitch, both

having sat on an District of Columbia Bar Ad Hoc Hearing Committee, and then manufactured

false recommended findings that Plaintiff had acted unethically in representing a woman who

claimed, now disproven, to have been sexually harassed by another host at Voice of America

while herself an Iranian host on Voice of America’s Persian News Network. Importantly, the

subject Gerstein article references this case, but fails to disclose that both Tigar and Fitch are

radical leftists and in Tigar’s case incredibly even a proud and avowed communist (the

ideological opposite of Plaintiff Klayman) who was fired by Supreme Court Justice William

Brennan for his communist ties to Fidel Castro and his equally murderous brothers, as even

reported by famed Washington Post investigative reporter and editor in his landmark treatise on

the Supreme Court, titled “The Brethren.”

       15.     Of equal importance, as set forth below, Tigar, along with about fifteen (15) other

leftist law professors filed a frivolous ethics complaint before the District of Columbia Bar

Disciplinary Counsel against then Trump White House Counsel Kellyanne Conway, and then

unethically publicized this complaint to the media to harm both Ms. Conway and President

Trump, thus underscoring the use of leftist media, such as Gerstein and Politico, to harm

conservatives like Mr. Klayman. Thus, there is a history and thus a pattern and practice of

District of Columbia Bar officials unethically using leftist media vehicles such as Gerstein and

Politico to further their partisan agenda and harm conservatives such as Mr. Klayman. They have




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also done so again recently with regard to an article published by the National Law Journal on

March 16, 20021 which will be the subject of other litigation in the near future.

       16.     Mr. Klayman had asked Defendant Kaiser for an internal review of this unethical

public use of a bar disciplinary proceeding to defame Mr. Klayman through Defendants false and

defamatory publication, and asked him if he was a participant as well, and in a letter of October

29, 2020 from the District of Columbia Board on Professional Responsibility, he did not deny

Mr. Klayman’s allegations much less even address Mr. Klayman’s allegations, while also

refusing to conduct an internal review, but instead stated disingenuously that he would only

entertain a new request after the conclusion of the proceeding before the District of Columbia

Court of Appeals. Defendant Kaiser thus effectively admitted his and other officials of the

District of Columbia Bar disciplinary apparatus’s involvement in this unethical and defamatory

conduct in collaboration and in concert with Defendants to maliciously defame Mr. Klayman.

       17.     Specifically, the September 16, 2020, Politico article written by Gerstein directly

quoted malicious, false and defamatory statements by Defendants, as he publishes falsely and

misleadingly “D.C. Bar officials contend the famously litigious Klayman misrepresented facts,

filed meritless pleadings and brought frivolous demands for recusal and an ethics complaint

against a judge who rejected the hard-charging lawyer’s bid to join the defense team at Bundy’s

request.” In fact and truth, there has never been any finding by the District of Columbia Bar

disciplinary apparatus, or for that matter any other state bar, that Mr. Klayman has been

dishonest, among other false and misleading representations in this published statement

       18.     Furthermore, Gerstein admits, in falsely and misleadingly publishing that Mr.

Klayman will be removed from the practice of law, to the detriment of himself, his family and

his clients: “The danger for Klayman at present is not so much the Bundy related complaint but




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the series of ethics cases he faces taken together. Bar officials say the record is mounting that

Klayman is unfit to practice law.”

         19.     This clearly shows that Defendants published false, malicious and defamatory

statements to Gerstein with the expectation, instruction, and direction to republish them in

Politico, as Defendants are quoted in these statements.

         20.     Such a public statement by the Defendants was not only unethical in and of itself,

concerning on-going disciplinary proceedings, which are not meant for public relations purposes

to further political agendas and ideologies, particularly in this age of Donald Trump where

anyone who supported his presidency and is a conservative such as Plaintiff is considered an

“enemy of the state,” but instead was calculated to severely damage Mr. Klayman whatever the

ultimate result of the disciplinary proceedings. They were the result of Defendants not being

confident that on the merits they could remove Mr. Klayman from the practice of law.

         21.     On information and belief, they therefore put up and collaborated with Gerstein

and Politico, who are of the same ideological and partisan ilk, and despise if not loathe Mr.

Klayman for his public interest advocacy in bringing lawsuits against the Clintons, Barack

Obama, and Joe Biden in particular, to do their “dirty work” by defaming Plaintiff.

         22.     This is the same group of Defendants which is currently entertaining ethics

complaints against Kellyanne Conway for remarks she made on MSNBC and Attorney General

William Barr, for his dropping charges against General Michael Flynn and for remarks he made

on cable news. Not coincidentally, all former presidents of the District of Columbia Bar signed

and filed this ethics complaint against AG Barr, as well as a former Senior Assistant Bar

Disciplinary Counsel.1 The District of Columbia Bar is singularly comprised of rabidly partisan



1   https://www.politico.com/news/2020/07/22/bill-barr-bar-association-probe-377272;

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“leadership” of the left and is pro-Democrat and vehemently anti-Trump and anti-conservative ,

as is nearly every other institution in the nation’s capital these days.

       23.     It is the same group of Defendants that engaged in selective prosecution and

turns the other cheek when ethics complaints are filed against leftist and pro-Democrat lawyers,

such as David Kendall of Williams & Connolly, who has represented and continues to represent

Bill and Hillary Clinton and who was alleged to have obstructed justice and suborned perjury for

Hillary Clinton over the destruction of 33,000 emails when she was Obama’s Secretary of State. 2

       24.     The District of Columbia Bar, much like everything else in the rabidly highly

politicized world of the nation’s capital, which many call “the swamp,” has become partisan and

severely compromised and corrupt, to put it most diplomatically.

       25.     In this regard, the allegations of this Complaint are not isolated when it comes to

District of Columbia Bar disciplinary apparatus and officialdom smearing and harming lawyers

whose politics or ideology they do not like. The same thing occurred with regard to a father and

son law firm of J.P. and John Szymkowicz, after an outrageous and unconscionable contrived

and fraudulent bar disciplinary proceeding that lasted thirteen (13) years, drove them to the brink

of bankruptcy by causing them to lose clients, and caused extreme emotional distress, and where

Bar Disciplinary Counsel, as with Mr. Klayman, unjustly sought their removal from the practice

of law. And, to add insult to severe injury, when the Bar disciplinary apparatus and officialdom

did not succeed and the Szymkowiczs where totally exonerated, they characteristically put up a

former Senior Assistant Bar Disciplinary Counsel Michael Frisch, now a leftist professor at

Georgetown Law School to defame them in his public blog postings. See Exhibit 2. Such is the



https://www.washingtonpost.com/politics/law-professors-file-misconduct-complaint-against-
kellyanne-conway/2017/02/23/442b02c8-f9e3-11e6-bf01-d47f8cf9b643_story.html.
2 https://lawflog.com/?p=1389



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vindictive and malicious conduct of District of Columba Bar disciplinary apparatus and

officialdom, as set forth above with Mr. Klayman as well. Not coincidentally, J.P. Szymkowicz

is the only Republican official in the district’s government. And, not coincidentally, Mr. Frisch is

one of the signatories, along with four (4) former presidents of the District of Columbia Bar, in

the ethics complaint recently filed against AG Barr, which was then publicized by them, as has

unethically occurred with Mr. Klayman and Trump White House Counsel Kellyanne Conway,

and others.

       26.      Of particular enmity among Defendants is Mr. Klayman advocacy in attempting

to bring Bill and Hillary Clinton to justice, as Plaintiff has deemed them to “Bonnie and Clyde of

American politics.” And it is no surprise that even Defendant Kaiser, among others at the highest

level of the District of Columbia disciplinary apparatus and officialdom, has made substantial

political contributions to the Clintons (as well as President Obama and Hillary Clinton) while at

the same time writing columns for “Above the Law,” a leftist legal publication trashing President

Donald Trump and attesting to the “honesty” of Hillary Clinton. 3

       27.      It thus comes as no surprise that a recent Board report, written by and/or on

behalf of Defendant Kaiser effectively hinges in part on Mr. Klayman having sued Mrs. Clinton

in the past in his public interest capacity, while wholly irrelevant in the context of this case.

       28.      Defendants malicious, false and defamatory statements, republished in this district

and throughout the world through the Gerstein and Politico article thus is intended, with actual

and constitutional malice, to portray a picture to the reader that Mr. Klayman has been deemed

unfit to practice law and will soon and inevitably be removed from the practice of law, that is

disbarment is imminent.


3https://abovethelaw.com/2016/08/hillary-clinton-truthfulness-and-bias-in-white-collar-cases/
https://abovethelaw.com/2016/07/trump-and-tyranny/

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       29.     The title to the column by the Gerstein, written in concert with and at the direction

of Defendants, sets the defamatory theme. It publishes: “A Conservative Gadfly Faces the

Music.” It then ratches up the defamation as follows in the subparagraph by publishing “ Larry

Klayman pioneered slash-and-burn legal tactics that have become the feature of American

politics. Now, he faces the prospect of his own legal demise.”

       30.     Not to be content with and to drive into the reader this lead in to the defamatory

article, Gerstein, in concert with and at the direction of Defendants, then published: “While many

on the Washington scene have been waiting for decades for Larry Klayman to get his

comeuppance in court, three different ethics cases he is now embroiled in raise questions about

how to police a legal system that generally imposes few consequences for filing marginal

lawsuits and complaints.” This defamatory publication states that Mr. Klayman files (only)

marginal cases and obviously given his many successes this is false and misleading. Exhibit 1.

       31.     Then, Gerstein, in concert with and at the direction of Defendants, falsely publish

that Mr. Klayman has predicted his own demise by writing “To hear Mr. Klayman conservative

gadfly (who Defendants despise) and attorney Larry Klayman tell it, the end of this legal career

haranguing the Washington political establishment could be nigh.” To the contrary, Plaintiff

never has said any such thing and in fact Defendants know full well that Mr. Klayman is a

fighter and will never roll over to the left and its sycophants of the District of Columbia Bar

disciplinary apparatus and officialdom..

       32.     Then, Gerstein, in concert with and at the direction of Defendants, while

unmasking their own political biases and inclinations, published: “During the 1990s, as he

headed Judicial Watch, Klayman became reviled by many in the Clinton administration for

forcing aides into bizarre, almost postmodern depositions that often led the witnesses to incur




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tens of thousands of dollars in legal bills. His antics eventually inspired the writers of “The West

Wing” to create a toxic, scandal-chasing character, Harry Klaypool of Freedom Watch. Klayman

was thrilled and – after an rancorous breakup with other leaders of Freedom Watch – adopted the

fictional name from the TV show as the name of his new organization.”

       33.     This published statement is defamatory in ways which include but are not limited

to first stating that Mr. Klayman forced Clinton aids into deposition, when in truth and fact they

were sanctioned and approved of by the Honorable Royce C. Lamberth of the U.S. District Court

for the District of Columbia, after Mr. Klayman’s deposition notices were challenged. Second,

the published statement brands Mr. Klayman’s public interest advocacy concerning seeking legal

redress the myriad of Clinton scandals, which continue to this day, as “antics,” are hardly truthful

given Mr. Klayman’s successes. Third, the published statement, among others, represents that

Mr. Klayman was thrilled by the Harry Klaypool character on “West Wing,” which was created

by Aaron Sorkin and other Clinton loyalists such as Lawrence O’Donnell and former Clinton

White House press secretary Dee Dee Myers, when in truth and fact Defendants do not know this

one way or the other.

       34.     Indeed, while admittedly communicating, plotting and colluding and acting in

concert with Defendants, Gerstein and Politico incredibly never even sought a comment from

Mr. Klayman before widely publishing this defamatory article in this circuit, nationally and

internationally. These are just a few of the false and misleading defamatory statements in this

published representation and article.

       35.     Gerstein, in concert with and at the direction of Defendants, also writes “While

many on the Washington scene having been waiting for decades for Klayman to get his

comeuppance in court, three ethics cases he is now embroiled in raise questions about how to




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police a legal system that generally imposes few consequences for filing marginal and lawsuits

and complaints.” The defamatory nature of this malicious statement speaks for itself, particularly

given Mr. Klayman’s many successes in his public interest and private practice legal advocacy.

       36.     As further evidence of the fact that Gerstein and Politico were working in concert

with and at the direction of Defendants, the article tries to paint Defendant Porter favorably: “

But she (Julia Porter, Deputy Bar Disciplinary Counsel) reserved her harshest criticism for

Klayman’s practice of targeting judges and bar officials with suits, recusal motions and ethics

complaints when he finds himself on the losing side of a legal decision. … They are consistent

with Mr. Klayman’s pattern of retaliation and intimidation of people who either act against him,

Porter said. … She should know. He’s filed at least three federal lawsuits against Porter and her

office over their actions toward him. Two of the suits have been dismissed, although appeals are

pending.”

       37.      Not mentioned was that Ms. Porter was ordered to be under an internal review

ethics investigation by the District of Columbia Bar by a prior Chairman of the Board of

Professional Responsibility, Robert Bernius, over her pattern and practice of lying and engaging

in other unethical and illegal acts with regard to the Szymkowiczs’ case, which lasted thirteen

years and resulted in their “acquittal,” but not after they were taken to the brink of bankruptcy

and severe emotional breakdown, losing clients and business in the long interim. To make

matters worse, she then put up her former colleague Michael Frisch, a then a leftist law professor

at Georgetown, to publically defame Mr. Klayman. Exhibit 2.

       38.     Then while Defendant Porter and her Office of Disciplinary Counsel presented no

witnesses in the principal disciplinary matter involving the Bundy matter mentioned in the

defamatory article, Gerstein, in concert with and at the direction of Defendants, then mock and




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disparage Mr. Klayman’s material witnesses, even mocking and belittling their race when it suits

the theme of their defamatory article. Ironic indeed, as the left has maintained its mantra that

conservatives are inherently racist.

       39.     For instance, Gerstein, in concert with and at the direction of Defendants,

publishes: “For Klayman, that meant showcasing witnesses who would testify to his character.

The result was a cavalcade of right-wing personalities, including two former presidential

candidates: ex-Rep. Bob Barr (R-Ga.) and former Ambassador Alan Keyes. … Also singing

Klayman’s praises were conservative talk show host Armstrong Williams, author and conspiracy

theorist Jerome Corsi and no fewer than four members of the Bundy family two of whom

appeared to be testifying while sitting in farm equipment.”

       40.     This published statements obviously show not just Defendants’ leftist mocking of

conservatives, and Ambassador Alan Keyes is a black conservative, but also of the Bundy

family, who Defendants characterize as hicks, the equivalent of the Beverly Hillbillies, and it is

false that they all testified while sitting in farm equipment.

       41.     Then to continue their condescension, contributing to this defamatory hit piece on

Mr. Klayman, Gerstein, in concert with and at the direction of Defendants publishes: “A key

element of Klayman’s defense before the ethics panel was to downplay his Republican ties and

emphasize instead that he has sued presidents and other political figures from both major

political parties. The second and slightly less explicit thrust of his defense was that he has many

friends and clients who are African American.” The latter reference in particular, was intended

to suggest that Mr. Klayman exploited his African American friends and clients, heightening and

compounding the “cleverly crafted” mocking, condescending, disparaging and defamatory

content and tone of the defamatory article. It is also the height of hypocrisy that Defendants




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generally view and brand conservatives as racists, a constant theme these days in all sectors of

the left wing media, some even claiming that whites are born with a biological racist gene.

       42.     As a further example of Gerstein’s, in concert with and at the direction of

Defendants, mocking and condescension, they published: “I’ve told people that if I had won, you

would have been my choice for attorney general,” Keyes told Klayman during the hearing,

beaming in on Zoom from the anchor desk of a television studio….”

       43.     Then with regard to conservative black television and radio personality and pundit

Armstrong Williams, Gerstein, in concert with and at the direction of Defendants, continuing the

mocking, condescending, belittling, devaluing and disparaging and defamatory theme about Mr.

Klayman’s African-American witnesses much less colleagues and friends, they published: “You

and I have never had an issue when it comes to character, integrity, and your honoring your

word,” said Williams, who spoke sitting in front of a tea-shirt from Ben Carson’s (also African

American) 2016 presidential campaign…. That I can absolutely say is true, yest. You always

honor your word – even as a lawyer, yes. … Steadman Graham, you actually are partners with

him, that was Oprah’s boyfriend for a while, right?, Klayman asked Williams. … Yeah .. I don’t

know why its relevant, but it’s true, Williams said, prompting a visible eye roll and chuckle from

the lawyer overseeing the hearing, Buffy Mims.”

       44.      In fact and truth there was not such eye roll from this African American hearing

committee chair, thus furthering the defamatory theme of Defendants’ article and putting down

Mr. Klayman’s African American witnesses, colleagues and friends such as Armstrong

Williams, which Defendants conspicuously did not do to this extent with Mr. Klayman’s white

witnesses. Indeed, it is ironic, but typical, that these leftist Defendants chose to mock Mr.

Klayman’s black witnesses, colleagues and friends, as there is no limit when it comes to their




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despicable defamation and hatred of conservatives, black or white or whatever shade or color

race, ethnicity or religion, in Mr. Klayman’s case a Jew who believes in Jesus and has become

and is a Jewish Christian.

       45.     Then, Gerstein, in concert with and at the direction of Defendants, work on Mr.

Klayman’s African American policeman client and friend Demetrick Pennie, who is not

coincidentally running for Congress is Texas. They publish: “Klayman also called Dallas police

sergeant and GOP congressional candidate Tre Pennie as a character witness. He represented

Pennie in an unusual suit that sought to tie shootings of Dallas police officers to rhetoric from

Black Lives Matter, President Barack Obama, Sen. Hillary Clinton and others. … How do we

refer to each other? Klayman asked. As brothers, replied Pennie.”

       46.     Gerstein, in concert with and at the direction of Defendants, misleadingly

distorted their characterization of the Pennie lawsuit, whose primary target defendant was Louis

Farrakhan of the Nation of Islam, who just days before the Dallas police massacre, in which

Pennie was assaulted as well, called for his disciples, such as Micah Johnson, who obediently

carried out the massacre, to kill white cops in particular. By calling the suit “unusual” this

contributed to the defamatory theme of Gerstein article, which was intended maliciously to

defame any case or any endeavor Mr. Klayman had engaged into over his forty three plus

successful legal career. It was also intended as a condescending, mocking, and belittling put

down, if not devaluation, of a brave African American police officer who stuck his neck out to

obtain justice, and for so doing had his life and those of his loved ones threatened with death by

those radical leftists who Defendants support and are sympathetic with.

       47.     Then Gerstein, in concert with and at the direction of Defendants, continue this

defamatory smear and attack on Plaintiff, by publishing: “At another point, Klayman called the




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panel’s attention to a recent success: a ruling he won in Manhattan federal court earlier this year

allowing former U.S. Senate candidate Roy Moore (R-Ala.) to proceed to discovery in a

defamation suit against comedian and filmmaker Sasha Baron Cohen. .. An Obama-appointed,

African American judge allowed the case to go forward, a very fair man, Andrew Carter. A very

fine judge, Klayman told the committee. … Klayman never directly explained the relevance of

the judge’s race or Pennie’s, but two of the three members of the bar committee hearing the

ethics case are African American and the on-line biography of the panel’s chairwoman, Mims,

prominently describes her as the co-chair of the Diversity & Inclusion Committee at her law

firm.”

         48.     Again, Defendants, acting in concert with Gerstein and Politico, use race in a

despicable condescending       way to mock, belittle, and devalue, Mr. Klayman’s material

witnesses, and the Gerstein article conspicuously omits and fails to point out that Defendants

failed to present even one, repeat even one, witness in this entire disciplinary proceeding.

         49.      It is therefore Defendants who are using race to compound the defamatory nature

of the subject article, making fun of African Americans when it suits their malicious purposes to

collaborate with District of Columbia Bar disciplinary apparatus and officialdom to harm Mr.

Klayman over his conservative advocacy and credentials, and who has taken on those, such as

the Clintons, Obama and Biden, who they support.

         50.     Not to be deterred from the continuing defamatory attack, Defendants, acting in

concert with Gerstein and Politico, then mocked and belittled accolades by Mr. Klayman’s

clients and other others who admire and have appreciated his public interest and private legal

advocacy. Indeed, these references were admitted into evidence and it was not “unusual” that an

advocate like Mr. Klayman would use them to show his ethical, moral and honest character. But




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not to be undone, Gerstein, in concert with and at the direction of Defendants published:

“Klayman’s effort to demonstrate his exemplary character took other unusual turns, as he read

from jacket blurbs of his own books and from articles written by his supporters. As always there

was no understatement.” See Exhibit 1 – Klayman Sworn Affidavit

       51.     For Defendants, everything that Mr. Klayman has done and does is either

“unusual,” unethical, frivolous, marginal, lacking merit, harassing or has some other nefarious

illegitimate purpose – you name it so long as it defames Plaintiff. These venomous and malicious

attacks on Mr. Klayman, his legal practice and his character comports with their leftist agenda,

which is to defame and harm if not destroy conservatives, libertarians and people of faith, such

as conservative Jews and African Americans in particular.

       52.     In this regard, Defendants, when it suited their false and misleading hit

defamatory hit piece, even misleadingly belittled another leftist, but unlike them a distinguished

and an ethical one, Dean Erwin Chemerinsky, of the University of California School of Law,

known as “Boalt Hall,” one of the top law schools academically in the nation, published in the

subject article: “A leading liberal constitutional law expert, University of California at Berkeley

law dean Erwin Chemerinsky also testified on Klayman’s behalf earlier in the ethics case

stemming from the Bundy prosecution. The esteemed law professor concluded there was no

ethical violation by Klayman in the Bundy case. Klayman told the panel.” Then Defendants

added gratuitously, to undercut Dean Chemerinsky’s sworn testimony as a legal expert on behalf

of Mr. Klayman, “(Chemerinsky confirmed to POLITICO Tuesday that he testified for Klayman,

but the professor said he could not recall the details.).

       53.     Not only is this representation about Dean Chemerinsky not recalling the details

misleading and false, but there was no objective or even subjective reason to make this statement




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since the sworn hearing testimony of Dean Chemerinsky was entered into evidence and made a

hearing exhibit, referred to by Mr. Klayman at the hearing which Defendants watched by Zoom,

and was publically available to the Defendants, to which Mr. Klayman had referred to at the

hearing. This cheap shot, false as it was, attests to the actual and constitutional malice set forth in

the article which is the subject of this suit. Defendants, acting in concert with Gerstein and

Politico, themselves feel free to lie and mislead whenever it suits their malicious ends.

       54.     Then another misleading and false statement is made when Gerstein, again in

concert with and at the direction of Defendants, publishes: “While many view Klayman as an

early pioneer of a political weapon he seemed to lament that phenomenon during this week’s

session, ruling what he called ‘the age of the politics of personal destruction’ in an ironic echo of

a famous Bill Clinton line.” To the contrary, Mr. Klayman did not lament about his successful

and storied legal and other careers; only the partisan and hateful attacks of the left to try to take

him down, which he vigorously resists.

       55.     And then as a final salvo, revealing their collaboration and complicity with

Gerstein and Politico, of which they are comrades ideologically and in practice, Defendants

brazenly reveal their joint tortfeasor status: “The danger for Klayman at present is not so much

the Bundy-related complaint but the series of ethics cases he faces taken together. Bar ethics

officials say the record is mounting that Klayman is unfit to practice.”

       56.     Then to top it all off, Gerstein, in concert with and at the direction of Defendants,

maliciously and intentionally lied again by characterizing the reaction of committee panel

members in the Bundy case, when they published: “Klayman also asked for leniency by saying

he serves as a lawyer of last resort for many of his clients” and again made it appear that the

hearing panel found Mr. Klayman’s defense to be a joke.




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        57.     Gerstein, in concert with and at the direction of Defendants, wrote: “The other

panel members (in addition to the chair Mims), former Federal Trade Commission deputy

general counsel Christian White and prison rehabilitation advocate Robin Bell, occasionally

broke out bemused smiles at some of Klayman’s antics…”

        58.     To the contrary, Plaintiff advocated that he acted ethically at all times and did not

ask for even imply leniency, as he forthrightly told the panel members that discipline was not

warranted in any of the politically motivated bar proceedings. Nor did the panel members treat

Mr. Klayman’s defense at a joke. Indeed, during the initial hearing, which preceded this one,

they could not find clear and convincing evidence that Mr. Klayman committed any ethics

violations. Thus, there logically was no need for Mr. Klayman to throw himself on the mercy of

the panel and beg for leniency – a total fabrication by Defendants, in concert with Gerstein and

Politico.

        59.     Importantly, none of the Defendants, including Defendant Mathew Kaiser, the

Chairman of the Board of Professional Responsibility who oversees and directs all of the other

Defendants here, when presented with the opportunity by Plaintiff Klayman to deny directing

and acting in concert with Gerstein and Politico to commit the acts set forth herein, would do so,

creating an admission that all indeed they did so act in concert with Gerstein and Politico with

the malicious intent to defame and harm Plaintiff in his trade and professions and personally, as

well as to negatively influence and create bias and prejudice against Plaintiff Klayman and his

clients, unethically and illegally in on-going bar and court proceedings.

                               First Cause of Action – Defamation

        60.      Plaintiff re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.




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       61.      Plaintiff has been severely harmed and damaged by these false and misleading

statements of by Defendants because they subjected him to hatred, distrust, ridicule, contempt,

and disgrace.

       62.      These defamatory statements were published with actual and constitutional malice

as they were known by Defendants be false and misleading, as Defendants have closely followed

and is intimately familiar Plaintiff’s legal career and other endeavors, particularly since Defendants

loathe and oppose his conservative ideology.

       63.      Alternatively, Defendants’ false and misleading published statements were made

with reckless disregard for the truth. The foundation facts for this actual and constitutional malice

are set forth with specificity in previous paragraphs of this Complaint.

       64.      Plaintiff has been damaged by these false and misleading statements because they

severely injured Plaintiff Klayman in his profession and businesses, as well as severely injured

and damaged him personally, financially and in terms of his good will and reputation.

                          Second Cause of Action – Defamation Per Se

       65.      Plaintiff re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

       66.      Defamation per se gives rise to the presumption that severe harm and damage has

arisen by virtue of the malicious false and misleading statements.

       67.      These defamatory statements were published with actual and constitutional malice

as they were known by Defendants to be false and misleading , as they have closely followed and

are intimately familiar Plaintiff’s legal career and other endeavors, particularly since they loathe

and opposes his conservative ideology.




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        68.     Alternatively, Defendants’ false and misleading published statements were made

with reckless disregard for the truth. The foundation facts for this actual and constitutional malice

are set forth with specificity in previous paragraphs of this Complaint.

        69.     These malicious false, misleading, and defamatory statements are defamatory per

se and these false and misleading statements severely harmed and damaged Plaintiff Klayman in

his trade and professions as a public interest and private advocate and litigator and as an author,

columnist and radio and internet radio talk show and syndicated host, as well as personally, and

has severely damaged Plaintiff’s reputation, good will, and financial well-being and ability to

earn a living for him and his family.

                      Third Cause of Action - Defamation by Implication

        70.     Plaintiff re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

        71.     These defamatory statements were published with actual and constitutional malice

as they were known by Defendants to be false and misleading, as they have closely followed and

are intimately familiar Plaintiff’s legal career and other endeavors, particularly since they loathe

and opposes his conservative and pro-Trump ideology, and has sued the Clintons, Obama and

Biden in his public interest and personal capacities.

        72.     Alternatively, Defendants’ false and misleading published statements were made

with reckless disregard for the truth. The foundation facts for this actual and constitutional malice

are set forth with specificity in previous paragraphs of this Complaint.

        73.     Defendants have made statements which carry a strong defamatory implication as

to Plaintiff.




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         74.      Defamation by implication stems not from what is literally stated, but from what

is implied. Nunes v. WP Co. LLC, No. 20-cv-01403 (APM), 2020 U.S. Dist. LEXIS 242227, at

*8 (D.D.C. Dec. 24, 2020). “To establish defamation by implication, the plaintiff must

demonstrate (1) that "a defamatory inference can reasonably be drawn" and (2) that "the

particular manner or language in which the true facts are conveyed" supplies "additional,

affirmative evidence suggesting that the defendant intends or endorses the defamatory

inference.” Id.

         75.      Defendants’ statements all carry a defamatory inference, which can reasonably be

drawn by the reader.

         76.      Plaintiff has been severely harmed and damaged by these false and misleading

published statements, taken as a whole as set forth in detail in the preceding paragraphs, because

they subject him to hatred, distrust, ridicule, contempt, and disgrace.

         77.      These malicious false, misleading, and defamatory statements are defamatory by

implication and these false and misleading statements severely harmed and damaged Plaintiff

Klayman in his trade and professions as a public interest and private advocate and litigator and as

an author, columnist and radio and internet radio talk show and syndicated host, as well as

personally, and has damaged Plaintiff’s reputation, good will, and financial well-being and

ability to earn a living for him and his family, as well as negatively harmed him by prejudicing

on-going disciplinary proceedings and court cases concerning him and his clients as set forth

above.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for judgment against all Defendants, jointly and severally

as joint tortfeasors who also acted in concert between themselves and with District of Columbia




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Bar disciplinary apparatus and officialdom (and as yet unnamed subject to discovery “volunteer”

hearing committee members communist Michael Tigar and his ultra- leftist colleague Anthony

Fitch), as follows:

       a.      Awarding Plaintiff compensatory including actual, consequential, incidental for

malicious defamatory concerted conduct, jointly and severally, in an amount to be determined at

trial and in excess of $55,000,000.00 for the damages caused to his personal, and professional

reputations and good will and well-being in his trades and professions, as well as past and

prospective financial losses, personally and professionally.

       b.      Awarding Plaintiff punitive damages.

       c.      Awarding Plaintiff attorney fees and costs.

       d.      Granting such other relief as the Court deems appropriate and necessary.

       PLAINTIFF DEMANDS TRIAL BY JURY ON ALL CLAIMS SO TRIABLE.

Dated: March 19, 2021                                          Respectfully Submitted,


                                                                  /s/ Larry Klayman
                                                               Larry Klayman, Esq.
                                                               Florida Bar. No. 246220
                                                               7050 W. Palmetto Park Rd
                                                               Boca Raton FL 33433
                                                               Telephone: 561-558-5336
                                                               Email: leklayman@gmail.com

                                                               PLAINTIFF PRO SE




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           EXHIBIT 1
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                                IN THE UNITED STATES DISTRICT COURT
                                        DISTRICT OF COLUMBIA


LARRY KLAYMAN, ESQ.



                    Plaintiff

            v.

MATTHEW KAISER, et al

                                                                      Case Number:

             Defendants
____________________________________




                                SWORN AFFIDAVIT OF LARRY KLAYMAN

           I, Larry Klayman, being over eighteen years of age and duly competent to testify, hereby

swear and affirm as follows:

                                A BRIEF HISTORY OF MY BACKGROUND

           1.       I have personal knowledge of the following facts and if called upon as a witness,

could testify competently thereto.

           2.       I am a citizen of Florida and have, at all material times, done business in this judicial

circuit.

           3.       In 1973, I graduated from Duke University where I majored in political science and

French literature. I excelled academically and graduated with honors.




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       4.       I then matriculated at Emory Law School where I excelled academically and

graduated in 1977. While in law school, I worked as an intern at the U.S. International Trade

Commission, the Georgia Attorney General and the U.S. Attorney for the Northern District of

Georgia.

       5.       I passed The Florida Bar the first time I took the exam.

       6.       I passed all bar exams on my first attempt, including the District of Columbia Bar.

       7.       I began my legal career in this circuit in Miami, Florida as an associate for Blackwell,

Walker, Gray, Roberts, Flick & Hoehl (“Blackwell”), which was then the largest and most

prestigious law firm in Florida. I was admitted into The Florida Bar having been sworn in on

December 7, 1977. I have practiced law in this circuit continuously and extensively throughout my

forty-two-year career and have active cases pending in this circuit and elsewhere in Florida,

including during the period that I was a trial attorney for the U.S. Department of Justice’s (“DOJ”)

Antitrust Division, from 1980 to 1982, where I was assigned litigation in this circuit. Attached as

Exhibit A is a copy of my abbreviated biography.

       8.       I conceived of and founded Judicial Watch, Inc. (“Judicial Watch”) in 1994, a public

interest group that’s mission was to investigate and prosecute government corruption and abuse. I

was the Chairman, General Counsel, and Corporate Treasurer of Judicial Watch until I voluntarily

departed in 2003 to run as a candidate for the U.S. Senate in Florida in the Republican primary

election.

       9.       In 1998, during the time I ran Judicial Watch, I hired Thomas J. Fitton (“Fitton”) as

my contract assistant. I later appointed him president of the organization I founded.

       10.      In September of 2003, I voluntarily departed from Judicial Watch to run for the U.S.

Senate in Florida. At the time I left Judicial Watch, I learned that Fitton had never graduated from

college, which he had told me he had when I initially hired him.


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       11.      I have enjoyed many successes in my career as a lawyer, many of which have been

brought to the attention of the public by complimentary newspapers, magazines, editorials and

journals.

       12.      For example, I practiced law at Blackwell with my supervising partners Paul Larkin

and Layton Mank and participating in winning product liability cases as defense counsel for

Blackwell including cases involving Raleigh bicycles, pharmaceutical drugs manufactured by

Burroughs-Wellcome, and allegedly misdiagnosed cancer victims, and other personal injury and

medical malpractice cases. Additionally, I handled lawsuits in admiralty.

       13.      I left Blackwell to join the DOJ as a trial lawyer, prosecutor and defense lawyer in

late 1979. During my time at the DOJ, I had many victories in the courtroom as well as favorable

settlements for the government, i.e., such as for the Consumer Affairs Section of the Antitrust

Division over misbranded, adulterated food and drug products including fruit drinks and

prophylactics for the Food & Drug Administration (“FDA”) and successful seizures and criminal

prosecutions of dangerous products on behalf of the Consumer Product Safety Commission

(“CPSC”) such as slant-sided refuse bins, flammable children’s sleepwear, and intraocular lens

implants for cataract patients.

       14.      Importantly, I was also on the trial team that successfully broke up the AT&T

monopoly – creating competition in the telecommunications industry. I left the DOJ in late 1981.

       15.      Then, working as an international trade lawyer for Busby, Rehm & Leonard and after

a few years having founded my own firm The Law Offices of Larry E. Klayman, later named

Klayman & Associates, P.C., I won countervailing duty and antidumping duty cases concerning

steel from South Africa, garden furniture from Italy, musical instrument pads from Italy, coffee

filters from Brazil, key limes from Peru, fireworks from China and a host of other product imports.

I represented both importers and exporters. (While at Busby, Rehm & Leonard, I also took some


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months on hiatus and worked in the Competition Directorate (DG-4) of the Commission of the

European Communities Section (“E.C.”).

       16.      Later, with my law firm, I won Section 337 unfair trade practice cases at the U.S.

International Trade Commission (“USITC”) concerning tennis rackets from Belgium, power tools

from Taiwan, luggage from Taiwan, mass spectrometers from France, jam from Belgium, and

machine tools from Brazil. I won a landmark case concerning recloseable plastic bags, which broke

the patents of Minigrip and Dow Corning, Minigrip’s licensee. That case victory opened up

competition for zip lock bags, a multi-trillion dollar industry.

       17.      There was also an USITC patent case, pursuant to Section 337, which I litigated and

won involving motorcycle helmets and another antidumping and countervailing duty cases before

the Commerce Department and USITC concerning fire protection products and scuba diving

neoprene body suits.

       18.      I also won a Section 302 case involving paper from Brazil.

       19.      All of the Section 337 cases were judge-tried and I won every one of them.

       20.      I won a jury trial against Makita over power tools, another jury trial against a

domestic manufacture of removable swimming pools for my client Remove Pool Fence Co., and yet

another jury trial for my client, Maccaferri, on a contract dispute. These are only some of the jury

trials I won during my early career.

       21.      Because of my work during the time I ran Judicial Watch, a court ruled that President

William Clinton committed a crime during the Filegate litigation. I also triggered the famous

Chinagate scandal in a Freedom of Information Act, 5 U.S.C. § 552 et seq., which gave rise to

Judicial Watch ultimately being awarded almost a million dollars. I filed cases which ended Bill and

Hillary Clinton’s attempted illegal purchase at below market rates for their mortgage of their home

at Chappaqua, New York and ended the illegal payment of legal fees to the Clintons by State Farm,


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which was a form of bribery. I also participated in the famous Gore v. Bush litigation in Tallahassee,

Florida that settled the 2000 presidential elections by the U.S Supreme Court. I also brought a case

under the Foreign Agents Registration Act (“FARA”) over the Cheney Energy Task Force that made

its way to the U.S. Supreme Court.

       22.      I brought a case for Jose Basulto of Brothers to the Rescue in a Florida court, which

resulted in a $1.8 million judgment against the Republic of Cuba for shooting down Brothers to the

Rescue planes, and I represented the Miami family of Elian Gonzales and other victims of Fidel

Castro, such as journalists who were jailed by Castro for their political beliefs. In this regard, I not

only filed criminal complaints for these victims against Fidel Castro in Belgium courts, but also

lobbied and testified in both Italian and French in Italy and France, as I am fluent in both languages,

before various European parliaments to increase economic sanctions on Cuba for abuse of human

rights. I also lobbied the European Union in Brussels, Belgium for increased sanctions on Cuba.

       23.      On December 16, 2013, Judge Richard J. Leon granted my request for a preliminary

injunction in my case against the National Security Agency (“NSA”) and the Obama administration,

when Judge Leon found for the first time in history that the collection of metadata telephony records

by the NSA was likely unconstitutional.

       24.      Because of that ruling, Congress enacted the USA Freedom Act, which sought to end

illegal and unconstitutional mass surveillance by government intelligence agencies and the Federal

Bureau of Investigation (“FBI”).

       25.      I obtained a jury verdict in the U.S. District Court for the Southern District of Florida

against my former public interest group Judicial Watch, which was then run by Fitton, for

maliciously defaming me in the amount of $181,000, which included punitive damages.




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       26.      My client Sheriff Joe Arpaio and I were the first to challenge former President

Obama’s unconstitutional executive amnesty for over 5 million illegal aliens and were ultimately

successful, along with 25 other attorneys general, in front of the U.S. Supreme Court.

       27.      It was my efforts that prevented Dr. Jerome Corsi (“Dr. Corsi”) from getting indicted,

first because he told the truth and did not engage in witness tampering and threaten to kill a witness

such as Randy Credico, as Defendant Stone did, and second because of my legal skill and acumen.

Dr. Corsi is a material witness in the Russian Collusion investigation by Special Counsel Robert

Mueller (“Mueller”) and is listed as a material witness as Person 1 in Defendant Stone’s Mueller

indictment.

       28.      I have had many other successes in addition to the above-listed victories.

       29.      I myself authored a book titled “Whores: Why and How I Came to Fight the

Establishment” published in 2009. In it, I wrote about my unfortunate experience with Defendant

Stone. See Exhibit B. I authored this book myself without a ghostwriter and I came runner-up at an

International Book Fair. It also still has a review on www.Barnesandnoble.com of 4.5 stars out of

the maximum 5 stars.

       30.      Upon its publication, Jack Cashill, the author of “Ron Brown’s Body” had this to say

about me: “That Time magazine has yet to name Larry Klayman ‘Man of the Year’ is a failure of

Time, not Klayman’s. The work he and Judicial Watch did on the Brown case is stunning.” See

Exhibit B.

       31.      Joseph Farah, the founder of WorldNetDaily.com, had this to say about me: “Larry

Klayman is my hero because he has integrity – enough to prevent him from blind loyalty to party or

ideology . . . That’s because he is fearless and relentless in the pursuit of justice . . . There were

other men like Larry early in American history. Their names were Washington, Jefferson, Madison

and Henry. See Exhibit B.


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       32.      Louis Jacobson of the National Journal said this of me: “ . . . through his challenge

of secrecy rules, Larry Klayman has become a force in Washington. See Exhibit B.

       33.      Bill Moyers, of “Now” PBS, said this: “. . . his idea of fun is trying to kick down a

door some public official has marked secret . . . Larry Klayman is himself a conservative, but there’s

nothing partisan bout his indignation.”

       34.      Frank Rich, famed columnist for “The New York Times” said this: “Larry . . . I

appreciate your own maverick – if we can still use that word! – thinking and stands.” See also

Advance Praise for “It Takes a Revolution: Forget the Scandal Industry.” Exhibit B.

       35.      These are just a few of the accolades I have received over the years from

conservatives and liberals alike, who appreciate and admire my work. See my biography attached

as Exhibit A and incorporated herein by reference; see also Exhibit C, “Larry Klayman, the One

Man Tea Party” which attributes the genesis of the Tea Party to me.

       36.      I am now the founder, Chairman and General Counsel of Freedom Watch, Inc., which

has the mission of investigating and prosecuting government corruption and abuse through legal

advocacy. I also am in private practice with The Klayman Law Group, P.A. Judicial Watch, under

Fitton, who is not a lawyer, changed its mission after I left to run for the U.S. Senate. It now

primarily focuses on Freedom of Information Act requests, seeking mostly documents, but generally

does not bring hard-hitting lawsuits to mete out justice. Thus, I am unique as a public interest

advocate. I am a columnist for World Net Daily and have had about 500+ columns published over

the last 10 years. I am also a columnist for Newsmax through a blog titled “Klayman’ Court” and

in addition to my book “Whores: How and Why I Came to Fight the Establishment”, I also published

two other books: “Fatal Neglect” and “Essays of a Mad Man.” I also have my own syndicated radio

show with Radio America called “Special Prosecutor with Larry Klayman.”

                                            DAMAGES


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       37.      As an attorney, I rely on my virtue and integrity, as my reputation and good will

determines the amount of clients that come to me to earn a living for their legal matters in the public

interest and privately.

       38.      Any damage done to my reputation harms my ability to practice law as a lawyer,

particularly in this circuit, which is my community. This also harms my work as an author, columnist

and syndicated radio talk show host, all of which depend on reputation and good will.

       39.      Defendants’ statements in this instance have caused harm to my reputation, good will

and well being in this circuit, throughout Florida, the United States, and globally, as I am also an

international lawyer as previously set forth in this affidavit.

       40.      Defendants acted with malice when they published all of the defamatory statements.

They knew the statements were false or had a reckless disregard for their truth. They had reason to

know his false and misleading statements were false.

       41.      I was damaged financially, as well as to my reputation and good will, and

emotionally, by the defamatory and other tortious acts of Defendants.

Affiant Sayeth Not

SWORN TO UNDER OATH THIS 19TH DAY OF MARCH OF 2021..


                                                                  _______________________
                                                                  Larry Klayman




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        EXHIBIT A
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Larry Klayman, founder of Judicial Watch and       of the European Union in its Competition
Freedom Watch, is known for his strong             Directorate in Brussels, Belgium. During law
public interest advocacy in furtherance of         school, Larry also worked for the U.S.
ethics in government and individual freedoms       International Trade Commission in
and liberties. During his tenure                                  Washington, D.C.
at Judicial Watch, he obtained
a court ruling that Bill Clinton                                 Larry speaks four languages—
committed a crime, the first                                     English, French, Italian, and
lawyer ever to have done so                                      Spanish—and is an
against an American president.                                   international lawyer, among his
Larry became so famous for                                       many areas of legal expertise
fighting corruption in the                                       and practice.
government and the legal
profession that the NBC hit                                      The author of two books, Fatal
drama series "West Wing"                                         Neglect and Whores: Why and
created a character after him:                                   How I Came to Fight the
Harry Klaypool of Freedom                                        Establishment, Larry has a
Watch. His character was                                         third book in the works dealing
played by actor John Diehl.                                      with the breakdown of our
                                                                 political and legal systems. His
In 2004, Larry ran for the U.S.                                  current book, Whores, is on
Senate as a Republican in Florida's primary.       now sale at WND.com, Amazon.com,
After the race ended, he founded Freedom           BarnesandNoble.com, Borders.com, and all
Watch.                                             major stores and booksellers.

Larry graduated from Duke University with          Larry is a frequent commentator on television
honors in political science and French             and radio, as well as a weekly columnist, on
literature. Later, he received a law degree from   Friday, for WND.com. He also writes a regular
Emory University. During the administration        blog for Newsmax called "Klayman's Court."
of President Ronald Reagan, Larry was a
Justice Department prosecutor and was on the       Larry has been credited as being the
trial team that succeeded in breaking up the       inspiration for the Tea Party movement. (See
telephone monopoly of AT&T, thereby                "Larry Klayman - The One Man TEA Party,"
creating competition in the                        by Dr. Richard Swier, http://fwusa.org/KFA)
telecommunications industry.

Between Duke and Emory, Larry worked for                       Support the work of
U.S. Senator Richard Schweiker (R-Pa.)                         Freedom Watch at
during the Watergate era. He has also studied                  www.FreedomWatchUSA.org
abroad and was a stagiaire for the Commission
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        EXHIBIT B
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“Larry Klayman stood in the stead for my family and me under very
trying circumstances. He is persistent, loyal, and a great believer in the
Constitution, as my sons and I are as well. I respect his wisdom and
strength and cherish his friendship.”
                                        —Cliven Bundy, Nevada Rancher

“While others talk of corruption and injustice in our federal courts, Larry
Klayman is a man who has done something about it. As founder of Judi-
cial Watch and Freedom Watch, Larry Klayman became a household
name to those of us who want to stop the runaway power of federal judges
and restore honesty and integrity to our federal court system. Echoing
the sentiments of our Founding Fathers like Thomas Jefferson and James
Madison, Larry Klayman has fought for a return to the principles and
foundation of our Constitutional Republic wherein people are the source
of all power. With over forty years of experience in the practice of law,
Larry Klayman has represented defendants across America in defense of
their right to ‘life, liberty, and the pursuit of happiness.’ Larry is a valiant
warrior for truth and justice, and a man I am proud to call my friend. I
hope that you will enjoy his noble work, It Takes a Revolution: Forget the
Scandal Industry!”
                                             —Chief Justice Roy Moore

“Klayman’s work It Takes a Revolution: Forget the Scandal Industry! is bril-
liant, however unorthodox. But Larry is always right!”
                                       —Ben Stein, Lawyer, Actor, Writer

“As the father of Navy SEAL Ty Woods, who was killed at Benghazi, I
highly recommend this book. Just as Ty was a warrior as a Navy SEAL,
as a fellow lawyer and as his friend I can attest to Larry being a warrior in
the courtroom.”
                    —Charles Woods, Father of Navy SEAL Ty Woods

“I admire Larry, because he is first and foremost a patriot. He not only
believes in the words of the Constitution, he practices those words in all
of his endeavors. He was there when I needed him.”
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                    —Laura Luhn, Sexual Abuse Victim of Roger Ailes

“Larry Klayman is one of the most principled and intellectual minds in
the world of litigation. He believes in fighting for justice at all costs to
protect our constitutional freedoms! I am honored to be able to call him a
friend and mentor. God brings people into your life for different reasons. I
believe that God connected us because he wanted me to have a big brother
to encourage me to maximize my potential and guide me in the right
direction. Thank you, Larry!”
                             —Sergeant Demetrick Pennie, President
                                of the Dallas Fallen Officer Foundation

“Larry Klayman was the only attorney who had the guts to stand beside
us and go against the government to get answers when our son, Michael,
was killed in Afghanistan aboard Extortion 17 on 08/06/2011. Larry is
a bulldog in the courtroom! He helped us win against the NSA, the first
time in American history!”
                                  —Charles Strange, Gold Star Father
                                   of PO1 Michael Strange (DEVGRU)
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10/28/2020                                                            Larry Klayman - The One Man TEA Party




                 FREEDOMWATCH                                            JOIN OUR FIGHT AT WWW.FWUSA.ORG



   LARRY KLAYMAN - THE ONE MAN TEA PARTY
   By Dr. Richard Swier (Scribe)
   RedCounty.com
   July 31, 2010

   Long before there was a TEA Party, Glenn Beck 912 movement, 13 Patriots and thousands of others,
   there was Larry Klayman. Larry believes it is more important to be virtuous than be liked.

   Larry believes there is an ultimate right and wrong.

   Some of you may not know Larry Klayman but you should. If you believe in the Constitution of the
   United States and that the Executive, Legislative and Judicial branches of our federal government are
   corrupt to the core then you need to read Larry's book, WHORES: Why and How I Came to Fight the
   Establishment.

   If you see our courts legislating from the bench rather than enforcing the law as in Arizona then you
   will love Larry Klayman. If you love politics and want to understand what really happens behind the
   scenes get his book. I just nished reading WHORES and could not put it down. It is a mosaic of both
   the man and his struggles against an out of control government bent on aggrandizing itself at the
   expense of the people and the law. It is about corruption on the part of both parties writ large. I found
   it particularly interesting because of Larry's insights into Florida politics. You see Larry ran for the
   very same U.S. Senate seat Marco Rubio is seeking. Larry ran against, among others, Bill McCollum
   and Mel Martinez. If you want to learn more about Florida politics and political insiders, read this
   book.

   Larry is the founder of Judicial Watch and Freedom Watch USA. Freedom Watch USA "is the only
   group that speaks through actions, rather than just words." When reading his book I found it a
   fascinating personal and professional journey that re ects the work of a real patriot. Larry has won
   my patriot award for being a thorn in the side of Iran, Hugo Chavez, Bill and Hillary Clinton, Dick
   Cheney, George W. Bush and Barack Obama. Not a bad record if I say so myself.

   I really felt a symbiotic relationship with Larry as I read his story. When you speak truth to power you
   are always attacked. The progressive model is identify the target, marginalize it and then demonize
   it. That is the cross that Larry, TEA Party members and others who are like minded bear today.

   Larry was ghting the establishment since the early 1990s and he continues to do so even today with
   the ling of a lawsuit against Elena Kagan, President Obama's nominee for the U.S. Supreme Court.

   According to the WorldNetDaily.com column, Papers prepped to disbar Elena Kagan:


https://www.freedomwatchusa.org/larry-klayman-the-one-man-tea-party                                            1/2
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10/28/2020                                                            Larry Klayman - The One Man TEA Party

             One of Washington, D.C.'s most feared and fearless corruption watchers has told WND he
             intends to le an ethics complaint to have Supreme Court nominee Elena Kagan disbarred from
             practicing before the court she aspires to join – and possibly subjected to criminal prosecution
             – for her role in an escalating controversy over partial-birth abortion.

             As WND reported, dozens of pro-life organizations are already asking the Senate to investigate
             Kagan's 1997 amendment to an American College of Obstetricians and Gynecologists report,
             which was then used by the Supreme Court as justi cation for overturning Nebraska's partial-
             birth abortion ban in 2000.

             In her con rmation hearings, Kagan defended the amendment, saying, "My only dealings with
             (the College) were about talking with them about how to ensure that their statement expressed
             their views."

             Several analyses have concluded, however, that Kagan's amendment dramatically changed the
             meaning of the organization statement, and court records show the statement was passed off
             on the Supreme Court as o cial scienti c opinion, even though the organization's panel of
             scientists never approved Kagan's wording.

             Klayman told WND he believes Kagan's behind-the-scenes work constitutes "conspiracy to
             defraud the Supreme Court," and he intends to take the evidence that has been compiled by the
             pro-life groups to le a complaint before the clerk's o ce of the U.S. Supreme Court, seeking to
             have Kagan disbarred as a practicing lawyer infront of the Supreme Court.

   So the battle goes on for Larry, you and me. I hope you will read Larry's book and make it a point to
   learn more about the great work he is doing to stop corruption in our courts, at the White House and
   in Congress. Larry has been a one man TEA Party, now it is time for us to join with him as we
   together ght in the same cause – a grass roots revolution to save the Republic.

   http://www.redcounty.com/content/larry-klayman-one-man-tea-party




      YOUR HELP IS URGENTLY NEEDED!

      Support our cause and join our ght!

      Go to www.freedomwatchusa.org/donate

      Or call 844 FW ETHIC to contribute to Freedom
      Watch now




https://www.freedomwatchusa.org/larry-klayman-the-one-man-tea-party                                             2/2
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John T. Szymkowicz, and me, that began with a bar complaint filed on May 24, 2005,
continued with Disciplinary Counsel’s filing of a Specification of Charges dated March
30, 2009,1 and ended on November 23, 2018, with the expiration of Disciplinary
Counsel’s time to file a motion for en banc review of the per curiam opinion of the
District of Columbia Court of Appeals accepting the Board on Professional
Responsibility’s conclusion that my father and I did not violate the Rules of Professional
Conduct. This case lasted for 13 years, 6 months and 30 days.

        I ask that the Board on Professional Responsibility appoint Mr. Phalen, as the
Executive Attorney, to “act as Special Disciplinary Counsel” pursuant to Rule XI, Section
7 (a) (8) of the Rules Governing the District of Columbia Bar, and investigate this matter
pursuant to Rule XI, Section 8 (a) of the Rules Governing the District of Columbia Bar in
order to avoid the conflict of interest that would result if the Office of Disciplinary
Counsel were to investigate this matter.

I.  BACKGROUND OF ACKERMAN LITIGATION AND DISCIPLINARY
COUNSEL’S SPECIFICATION OF CHARGES.

        Ms. Porter’s prosecution of my father and me was based on my law firm’s
representation of Dr. Stephen J. Ackerman, Jr. and his mother, Genevieve Ackerman,
with regard to a “Revocable Trust” established on May 21, 2002. Hearing Committee’s
Findings of Fact 8. Mrs. Ackerman and her husband, Stephen Ackerman, Sr., had two
children, Mrs. Abbott and Dr. Ackerman. Ms. Abbott, “took the lead in establishing the
trusts for her parents by engaging the services of [Tas Coroneos, an attorney who is
now working as a real estate agent in Florida], who drafted the documents and
supervised their execution.” Id. See also https://www.taspowerof2.com. “Mrs. Abbott
signed [the trust documents] on behalf of both of her parents as their attorney-in-fact
pursuant to Powers of Attorney in favor of Mrs. Abbott.” Id.

       Beginning in 2002, my law firm represented Dr. Ackerman in the District of
Columbia Superior Court in his effort to “reform the trust to [Mrs. Ackerman’s intent],”
but the Superior Court ruled against Dr. Ackerman. Id. at 10. My law firm also
represented Mrs. Ackerman by filing an action in the Superior Court “for the purpose of
revoking the trust and returning control of the trust assets to Mrs. Ackerman.” Id. at 10-
11. After the trustee’s counsel notified my father that he intended to call my father as a
witness during the trial in Mrs. Ackerman’s case, my father was forced to withdraw as
Mrs. Ackerman’s counsel pursuant to Rule 3.7 of the District of Columbia Rules of
Professional Conduct, and successor counsel, Leslie Silverman, began representing
Mrs. Ackerman. Id. at 11. My law firm continued, however, to represent Dr. Ackerman
in a proceeding brought by the trustee in the Superior Court to transfer a home on North


1      Pursuant to the Rules Governing the District of Columbia Bar, Ms. Porter verified
the Specification of Charges dated March 30, 2009 by stating “I do affirm that I verily
believe the facts stated in the Specification of Charges to be true.”


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Carolina Avenue into Mrs. Ackerman’s trust. Id. Ultimately, Mrs. Ackerman and Dr.
Ackerman lost in all of the actions filed in the Superior Court. Id. at 11-12.

      In a 35-page Specification of Charges dated March 30, 2009, Ms. Porter charged
my father and me with several violations of the Rules of Professional Conduct, which
the Hearing Committee summarized as follows:

      Bar Counsel charges that, during their representation of Mrs. Ackerman,
      Respondents engaged in conflicts of interest, dishonesty, fraud, and other
      ethical violations . . . Bar Counsel’s prosecution rests on the contention
      that Mrs. Ackerman is ‘incompetent’ because she suffers from dementia,
      ‘cognitive impairment’ and ‘memory problems,’ and therefore was mentally
      incapable of hiring or directing a lawyer, and was unable to understand or
      process anything of a complex nature. Bar Counsel asserts that Mrs.
      Ackerman was an unknowing party to litigation that was brought in her
      name, because it was not in her interest. Instead, Bar Counsel argues
      that the litigation was intended only or primarily to benefit her son, Dr.
      Ackerman, to Mrs. Ackerman’s financial detriment. These contentions
      were initiated and are primarily supported by the testimony of Bar
      Counsel’s complaining witness, Mrs. Abbott. Hearing Committee’s
      Findings of Fact 12-13.2

      Moreover, the Hearing Committee found that there was a “close
      connection between the case Mrs. Abbott prepared for Bar Counsel to
      support Mrs. Abbott’s complaints and the case Bar Counsel actually
      presented against Respondents.” Hearing Committee’s Findings of Fact
      18-19.

II.   SUMMARY OF DISCIPLINARY PROCEEDINGS.

      A.      Proceedings Before the Hearing Committee.

      The proceedings before the Hearing Committee began on October 13, 2009, and
ended after 12 days of testimony on March 10, 2010. The Hearing Committee’s
Findings of Fact and Proposed Recommendations of Law, which were issued on
September 28, 2012, covered 161 pages, not including a 62-page appendix that cited to
evidence introduced during the proceedings. The Hearing Committee that:


2      The Hearing Committee found that “Mrs. Abbott’s anger and resulting hostility to
Respondents makes her opinion [emphasis in original] testimony against Respondents
unreliable.” Hearing Committee’s Findings of Fact 21. Moreover, the Hearing
Committee found that “Mrs. Abbott’s hostile, bitter statements and uncorroborated
testimony cannot be accepted as reliable or even relevant evidence against
Respondents.” Id.


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       ¶306. The Hearing Committee has listened to arguments and testimony
       for twelve hearing days, carefully reviewed over 3,800 pages of transcript
       (including the two pre-hearing conferences) and several more thousand
       pages comprising the 228 exhibits admitted in evidence, and considered
       the arguments set forth in the approximately 300 pages of briefs submitted
       by the parties. This careful review enables us to say, with confidence, that
       there is no credible evidence, much less clear and convincing
       evidence, supporting any of Bar Counsel’s charges. [emphasis
       added].

       ...

       ¶307. It is easy to understand why Mrs. Ackerman yearned for peace in
       her family. Throughout the years described in this record, there was no
       peace in the Ackerman family. It is also easy to understand Mrs. Abbott’s
       anger at the situation with which all participants in this tragic drama were
       faced. The palpable anger and resulting hostility of Mrs. Abbott towards
       the Respondents is misplaced, however.

       ¶308. We do not contest her right to express her opinions on any topic of
       her choosing, including the behavior of Respondents. However, that anger
       should not have affected Bar Counsel’s investigation in this matter. It is
       nevertheless clear that Mrs. Abbott’s “case” against the Respondents
       became Bar Counsel’s “case” against Respondents.3 Bar Counsel asked
       Mrs. Abbott to attest to the truthfulness of her complaining letters. But Bar
       Counsel’s charges were substantially undermined by Mrs. Abbott’s
       hostility and bias against Respondents, as clearly demonstrated in Mrs.
       Abbott’s cross-examination. Further, Bar Counsel’s serious
       misunderstanding of District of Columbia law with respect to mental
       capacity and consequently her failure to show that Mrs. Ackerman lacked
       capacity to interact with Respondents requires that the charges be
       dismissed against all Respondents, [expect for the Rule 1.5 violation by
       Mrs. Ackerman’s subsequent counsel, Robert King]. Findings of Fact 155-
       56.


3       In an email dated November 8, 2008 at 10:31 p.m. from Mrs. Abbott to Ms.
Porter, Mrs. Abbott describes her filing of an ethics complaint about an accountant in
order to obtain information instead of “go[ing] to court to force the issue.” In response to
that ethics complaint, Mrs. Abbott’s counsel “very soon heard from [the accountant’s
counsel], we made our demands, and everything we requested has been provided.”
Mrs. Abbott’s email concludes by stating, “So thank you, Julia, for what I have learned.
I figure I saved over $8,000 by filing an ethical complaint as opposed to going back to
court – probably even more. Til later, thanks again – Fran.”


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      B.      Proceedings Before the Board on Professional Responsibility.

       The Board on Professional Responsibility, in a 35-page opinion issued on July
25, 2014, dismissed all charges against my father and me. The Board found that
“[d]espite the quantity of evidence urged by Bar Counsel, when we account for the
Hearing Committee’s qualitative credibility determinations, we agree that Bar Counsel
has not clearly and convincingly proved the charges against Respondents.” [italics in
original]. Opinion 3. The Board also found that “[a]lthough Bar Counsel decries as
‘almost philosophical’ some of the legal issues discussed by the Hearing Committee,
there is no meaningful challenge to the germane legal reasoning contained in the
Committee’s report.” Opinion 3. The Board found that I “never interacted personally
with Mrs. Ackerman.” Opinion 16. The Board further observed that:

      Denigrating the Hearing Committee’s rejection of its evidence, Bar
      Counsel aggressively criticizes its ‘failure to consider much, if not most, of
      the evidence’ or ‘even to acknowledge it,’ and characterizes this purported
      failing as a ‘dereliction of [its] responsibility.’ (Bar Counsel’s Brief before
      the Board at 48-49). The ad hominem attack on the Hearing Committee’s
      work product is unfortunate. The Hearing Committee did consider
      countervailing evidence (see, e.g. Hearing Committee’s Findings of Fact
      at 79-93). The fact that it did not swell its report beyond 219 pages,
      further to detail evidence it found unpersuasive, does not mean the
      Committee ignored it.” Opinion 17.

The Board, with regard to me, found:

      [W]e reject Bar Counsel’s claim that J.P. Szymkowicz violated Rule 1.7 (b)
      (2) for an additional reason. Although he appeared on behalf of Mrs.
      Ackerman in the litigation, his role was entirely secondary to his father’s.
      He never spoke to Mrs. Ackerman. He had no reason to discuss any
      conflict issues with her because his father had ‘satisfied any inquiry he
      had about that. His father had a demonstrated history of being sensitive
      to, and vetting, conflicts in the past. J.P. Szymkowicz understood that his
      father would ‘not do anything on behalf of his clients unless they
      understand what’s going on, and the ramifications of what they are going
      to do. If there is a potential conflict, any potential conflict, . . . he’s very,
      very thorough and takes sometimes hours discussing these kind of issues
      with clients, and that happens in every case.’ J.P. Szymkowicz was
      entitled to rely on [John T. Szymkowicz’s] determination of Mrs.
      Ackerman’s capacity. He neither knew of, nor ratified, any improper
      conduct of his father. As a consequence, he did not have disciplinary
      liability for any failure of his father in that regard. [citing D.C. Bar Rule of
      Professional Conduct 5.1, Comment 6]. Opinion 27.



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       C.      Proceedings Before the Court of Appeals.

       In a 27-page per curiam opinion issued on September 17, 2015, the Court of
Appeals dismissed all charges against my firm, except that it remanded the case to the
Board on Professional Responsibility for “further consideration of the conflict-of-interest
charges” because “the Szymkowiczes could not properly represent both Ms. Ackerman
and Dr. Ackerman without obtaining informed consent to the joint representation.
Because it concluded that informed consent was not required, the Board did not decide
whether informed consent was obtained.” Opinion 21-22, 27. The Court of Appeals
further found that:

       The Board ruled in the alternative that Mr. J.P. Szymkowicz did not violate
       the conflict-of-interest rule because he reasonably relied on Mr. J.T.
       Szymkowicz’s assurances that any conflict issues had adequately been
       addressed. Because it is possible that the Board’s assessment of that
       issue could be affected by the Board’s determinations on remand, we also
       remand as to the conflict-of-interest charge against Mr. J.P. Szymkowicz.
       Opinion 22 n.2.

       D.   Proceedings on Remand Before the Board on Professional
       Responsibility.

       On May 19, 2017, the Board on Professional Responsibility issued a 36-page
report and recommendation on remand from the Court of Appeals. This report, after a
lengthy discussion of the law on capacity and burdens of proof, found that “Disciplinary
Counsel failed to prove by clear and convincing evidence that the Szymkowiczes failed
to obtain informed consent pursuant to Rule 1.7 (c) after [John T. Szymkowicz] offered
evidence of informed consent.” Report 23. This report also finds that “[b]ased on this
conclusion, we also see no reason to revisit our previous finding that [J.P. Szymkowicz]
reasonably relied on his father’s assurances that he had obtained Mrs. Ackerman’s
informed consent under Rule 5.2 (subordinate lawyers).” Report 25. Thus, the Board
“recommends that the case against the Szymkowiczes be dismissed.” Report 35.

       E.    Proceedings in the Court of Appeals after Remand to the Board on
       Professional Responsibility.

       On November 8, 2018, the Court of Appeals held, in a 16-page opinion, that the
record supports the Board’s conclusion that Disciplinary Counsel failed to carry the
burden of proving by clear and convincing evidence that Mrs. Ackerman did not give
informed consent to my firm’s representation. With regard to me, the Court found that:

       Although John P. Szymkowicz did not personally discuss conflicts of
       interest with Ms. Ackerman, the Board concluded that John P.



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       Szymkowicz reasonably relied upon assurances from his father on the
       issue. We do not understand Disciplinary Counsel to argue at this
       juncture that John P. Szymkowicz violated Rule 1.7 even if his father did
       not. Opinion 6-7.

III. MRS. ABBOTT’S COUNSEL NEVER ASKED A COURT TO IMPOSE
SANCTIONS DURING LITIGATION AND NEVER FILED A BAR COMPLAINT.

        During the litigation of the cases underlying this disciplinary proceeding, Mrs.
Abbott’s counsel, George Huckabay, never asked a court to impose sanctions for
frivolous behavior and did not file a bar complaint to Disciplinary Counsel as he was
required to do under Rule 8.3 (a) of the Rules of Professional Conduct if he believed
that my father or I committed a disciplinary violation. Rule 8.3 (a) states:

       A lawyer who knows that another lawyer has committed a violation of the
       Rules of Professional Conduct that raises a substantial question as to that
       lawyer’s honesty, trustworthiness, or fitness as a lawyer in other respects,
       shall inform the appropriate professional authority.

        Mr. Huckabay also did not testify against me or my father during the proceedings
before the Hearing Committee, even though he had numerous dealings with my father
in the various cases involving Dr. Ackerman and Mrs. Ackerman. Had he testified
before the Hearing Committee, Mr. Huckabay would have testified that he never had a
substantive discussion about the Ackerman matters with me, and that his interactions
with me were limited to such things as asking to speak with my father or
communications on non-substantive matters, such as when documents would be
produced or what days were good for scheduling purposes.

IV. MS. PORTER’S ACTIONS THAT VIOLATE THE RULES OF PROFESSIONAL
CONDUCT.

       A.    Ms. Porter’s Four Year Investigation of the Charges against My Law
       Firm.

       Ms. Porter’s initial investigation of the facts surrounding Mrs. Abbott’s bar
complaint lasted between May 24, 2005, when the complaint was made, and March 30,
2009, when she filed the Petition Instituting Formal Disciplinary Proceedings with the
Board on Professional Responsibility. During the entire time that this action was
pending, six central witnesses in this case died, including Genevieve Ackerman, who
was the key figure in the drama; Stephen J. Ackerman, Sr., her husband; Herbert
Callihan, her attorney prior to the time my law firm represented her; Kenneth Loewinger,
her court-appointed attorney after my firm’s representation of her ended; George
Huckabay, her daughter’s attorney in all of the proceedings in which my firm
represented Ms. Ackerman and her son; and finally, her son, Stephen J Ackerman, Jr.



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By the time the Hearing Committee began its 12 days of hearing, Mrs. Ackerman was
unable to testify on my firm’s behalf due to injuries she suffered in a fall in 2007, and
Stephen J. Ackerman, Sr. and Mr. Callihan were dead. By the time my firm began its
defense before the Hearing Committee on December 1, 2009, Mr. Loewinger had died
as well. Melvin Bergman, the attorney for Co-Respondents Leslie Silverman and
Robert King, died prior to the final resolution in the Court of Appeals.

        The result of Ms. Porter’s almost four-year delay in filing her Petition Instituting
Formal Disciplinary Proceedings was that my firm did not have the ability to call
witnesses (including Mrs. Ackerman herself) who would have corroborated my father’s
testimony that Mrs. Ackerman possessed the capacity to enter into a legal contract, that
she had the ability to convey her wishes to my father and that she had the ability to
receive information and provide informed consent to the legal strategy employed by my
father on her behalf. Instead, the Hearing Committee was not able to hear from those
individuals, and thus, as a result of Ms. Porter’s delay, my father could defend himself
against Ms. Porter’s allegations by calling only three witnesses besides my father and
me to testify before the Hearing Committee: Dr. Richard Ratner, who evaluated Mrs.
Ackerman as a psychiatrist, and Mrs. Ackerman’s successor counsel, Leslie Silverman
and Robert King. Had proceedings before the Hearing Committee began within a few
months of Ms. Porter receiving Mrs. Abbott’s bar complaint in May 2005, the Hearing
Committee would have heard directly from Mrs. Ackerman and determined for
themselves that she possessed the capacity to enter into a legal contract, that she had
the ability to convey her wishes to my father and that she had the ability to receive
information and provide informed consent to the legal strategy employed by my father
on her behalf. If testimony from Mrs. Ackerman was not enough to exonerate my law
firm, my father would have also called Herbert Callihan, who was Mrs. Ackerman’s
previous attorney, and Kenneth Loewinger, her court-appointed counsel, to testify as to
Mrs. Ackerman’s capacity, wishes and informed consent to my father’s legal strategy.
Instead, Ms. Porter’s four-year delay in bringing this case to trial left my father with no
“third-party” witness except for Dr. Ratner to corroborate my father’s testimony.

         I believe that the evidence is clear that Ms. Porter used delay as a procedural
weapon against my law firm since she “ran out the clock” on Mrs. Ackerman’s ability to
recall facts and events (Mrs. Ackerman was almost 88 years old in May 2005, when
Mrs. Abbott first complained to the Disciplinary Counsel about my law firm) by waiting
almost four years to file her Petition Instituting Formal Disciplinary Proceedings. It is not
difficult to imagine that an 88-year-old’s memory of detailed facts related to legal
proceedings would fade after four years. In fact, by the time the Hearing Committee
heard the case in late-2009, Mrs. Ackerman had fallen (sometime in 2007), and
apparently, lost much, if not all, of her ability to remember simple day-to-day details of
her life, and thus, Mrs. Ackerman was therefore unable to testify before the Hearing
Committee. This extensive delay significantly prejudiced my firm’s defense against Ms.
Porter’s charges.




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       In “Lowering the Bar: How Lawyer Discipline in New York Fails to Protect the
Public,” 17 N.Y.U. J. Legis. & Pub. Pol’y 485, 496 (2014), Professor Stephen Gillers of
the New York University Law School, states that an “[u]nacceptable delay” “undermines
the goals of discipline” and provides the following example of an “unconscionably long”
delay – “Imagine misconduct in year one, charges in year two, and suspension from
practice or disbarment in year four. A lawyer who deserves suspension will have been
able to practice for three years after the misconduct that supports the suspension or
disbarment.” It is important to again note that Ms. Porter waited almost four years to file
the Petition Instituting Formal Disciplinary Proceedings, and during this long period of
time, Mrs. Ackerman’s memory faded with advanced age and other witnesses died.

       Should Ms. Porter claim that she waited to file the Petition Instituting Formal
Disciplinary Proceedings until the conclusion of all of the proceedings involving Mrs.
Ackerman, I urge you to consider the American Bar Association Report of the
Commission on Evaluation of Disciplinary Enforcement dated September 18, 2018.
This report states in the comment section of Recommendation 12 that “A disciplinary
case should not be suspended or delayed because of a pending civil or criminal case
involving the same facts except upon a determination by the state disciplinary board
that good cause exists to do so, consistent with [the ABA Model Rules for Lawyer
Disciplinary Enforcement].”

        The Standing Committee on Professional Discipline of the American Bar
Association’s Center for Professional Responsibility, in its “2016 Survey on Lawyer
Discipline Systems,” found at https://www.americanbar.org/content/dam/aba/
administrative/professional_responsibility/2016sold_results.pdf, published a Chart,
found at Chart VI, entitled “Case Processing Times.” This chart published the number
of days it took for a particular disciplinary case to proceed through the system at
different stages of the process for most of the jurisdictions in the United States. One
chart that is relevant to my case is the “Average Time from Receipt of Complaint to
Filing of Formal Charges.” Most states accomplish this goal within a year; only six
states reported times greater than one year. Ms. Porter took almost four years to file
formal charges against my father and me.

      Ms. Porter, on page 16 of Disciplinary Counsel’s March 29, 2018 brief to the
Court of Appeals, cavalierly treats my law firm’s delay and due process arguments:

       The charges in this case were submitted in March 2009, six months before
       the Szymkowiczes stopped litigating against Ms. Ackerman’s trust.
       Disciplinary matters take time to resolve, particularly when years elapse
       over the course of the hearing, the Committee’s report, the Board report,
       and the appeal. . . . They have been permitted to practice law during the
       entire period these matters were pending and a sanction for their
       misconduct has yet to be imposed. . . . Their complaint about the expense
       also has no place in this appeal. They chose to retain counsel.



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      I believe that the evidence is clear that Ms. Porter used delay as an offensive
weapon against my law firm in order to run out the clock on my firm’s ability to call Mrs.
Ackerman and others as witnesses during the proceedings before the Hearing
Committee.

              1.     Ms. Porter’s November 2005 interview with Mrs. Ackerman.

        In 2005, after receiving Ms. Porter’s request for information about Mrs.
Ackerman’s case, my father invited and encouraged Ms. Porter to meet with Mrs.
Ackerman, outside of the presence of my father and her son, Stephen J. Ackerman, Jr.,
so that Ms. Porter could hear directly from Mrs. Ackerman what the elderly woman
wanted and what information my father had provided to Mrs. Ackerman with regard to
the course of action ultimately undertaken by my law firm. Upon information and belief,
Ms. Porter and an investigator from the Office of Disciplinary Counsel met with Mrs.
Ackerman in November 2005 as suggested by my father. This meeting is significant
because one of two things occurred at that time, either: (1) Mrs. Ackerman was fully
aware of the case filed by my law firm and had received information from my father
sufficient to provide him with informed consent to the plan for litigation that my father
employed, or (2) Mrs. Ackerman lacked the capacity to understand the nature and effect
of her actions, and thus, could not provide informed consent to my father’s litigation
plan. If Mrs. Ackerman was fully aware of the case filed by my law firm and had
received information from my father sufficient to provide him with informed consent of
the plan for litigation that my father employed, Ms. Porter’s investigation should have
ended there. If Ms. Porter found that Mrs. Ackerman lacked the capacity to understand
the nature and effect of her actions, she had the duty to immediately file a Petition
Instituting Formal Disciplinary Proceedings, rather than waiting more than three years -
until March 30, 2009 - to do so, in order to protect Mrs. Ackerman from further harm and
to protect the general public from an unethical attorney.

                            a.    Ms. Porter should have recused herself from
                            prosecuting her case against my father and me based
                            on the fact that she interviewed Mrs. Ackerman.

        Once Disciplinary Counsel filed the Petition Instituting Disciplinary Proceedings,
Ms. Porter should have recused herself under Rule 3.7 of the Rules of Professional
Conduct (which requires lawyers to recuse themselves if they are likely to be a
necessary witness during trial) so that she and her investigator could have testified
against my father in the proceedings before the Hearing Committee (assuming that she
found that Mrs. Ackerman lacked the capacity to understand the nature and effect of her
actions). While Ms. Porter called many witnesses before the Hearing Committee to
testify generally about Mrs. Ackerman’s purported incapacity, she did not testify herself
or call her investigator to testify. This omission is glaring because if she or her
investigator had believed that Mrs. Ackerman lacked capacity to understand the nature



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and effect of her actions, based on their November 2005 meeting with the central figure
in this case, surely Ms. Porter would have introduced this evidence during the
proceedings before the Hearing Committee. The obvious answer is that Ms. Porter and
her investigator did not find that Mrs. Ackerman lacked capacity to understand the
nature and effect of her actions during their interview, and rather, found Mrs. Ackerman
to be, as my father testified, steadfast in her desire to take the actions suggested by my
father after he provided her with information that was sufficient to allow her to provide
informed consent to this plan of action.

      B.  Ms. Porter’s Failure to Dismiss the Case Against Me after the Hearing
      Committee Issued its Report and Recommendations in September 2012.

       While Mrs. Abbott did not originally include me in her May 24, 2005 bar complaint
against my father, she later filed a separate bar complaint against me on February 12,
2007. In response to that bar complaint, I sent Ms. Porter a letter on March 28, 2007
that rebutted each and every statement in Mrs. Abbott’s February 12, 2007 complaint
against me. This letter detailed what I did - and what I did not do - with respect to the
various proceedings in the Ackerman cases. The Hearing Committee found that “JPS
had a limited role with respect to in-person meetings with both Dr. Ackerman and Mrs.
Ackerman and with respect to appearing in court in all relevant matters for those clients.
Findings of Fact 94. The Hearing Committee cited Rule 5.2 of the Rules of Professional
Responsibility in its Findings of Fact:

      ¶191. Rule 5.2 governs the responsibilities of subordinate lawyers. In its
      entirety, Rule 5.2 states:

             (a)    A lawyer is bound by the Rules of Professional Conduct
             notwithstanding that the lawyer acted at the direction of another
             person.

             (b)    A subordinate lawyer does not violate the Rules of
             Professional Conduct if that lawyer acts in accordance with a
             supervisory lawyer’s reasonable resolution of an arguable question
             of professional duty.

      Comment (2) to Rule 5.2 further provides:

             When lawyers in a supervisor-subordinate relationship encounter a
             matter involving professional judgment as to ethical duty, the
             supervisor may assume responsibility for making the judgment.
             Otherwise a consistent course of action or position could not be
             taken. If the question can reasonably be answered only one way,
             the duty of both lawyers is clear and they are equally responsible
             for fulfilling it. However, if the question is reasonably arguable,



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             someone has to decide upon the course of action. That authority
             ordinarily reposes in the supervisor, and a subordinate may be
             guided accordingly. For example, if a question arises whether the
             interests of two clients conflict under Rule 1.7, the supervisor’s
             reasonable resolution of the question should protect the
             subordinate professionally if the resolution is subsequently
             challenged. [italics in original].

      ...

      ¶193. Thus, JPS was entitled to rely on the judgment of JTS as to
      whether Mrs. Ackerman had validly waived the conflict of interest with Dr.
      Ackerman, so long as JTS’ resolution of that issue was ‘reasonable’ which
      we have found to be the case. JPS was therefore entitled to rely on JTS’
      resolution of that issue. Findings of Fact 97-98.

       After the Hearing Committee issued its Findings of Fact, Ms. Porter had a duty to
dismiss me from the proceedings unless she could prove that my reliance on my
father’s resolution of the issue that Mrs. Ackerman waived the conflict of interest with
her son was “unreasonable.” Rather than dismissing me from the proceedings, Ms.
Porter filed Exceptions to the Hearing Committee’s Findings of Fact and Conclusions of
Law before the Board on Professional Responsibility, Exceptions to the Board’s Order
before the Court of Appeals, a Brief before the Board on Professional Responsibility on
remand, and finally, a brief before the Court of Appeals after remand to the Board on
Professional Responsibility.

        On pages 42 to 45 of Disciplinary Counsel’s brief before the Court of Appeals
dated December 12, 2014, pages 22 to 23 of Disciplinary Counsel’s Brief on remand to
the Board on Professional Responsibility dated November 23, 2015 and pages 15 to 16
of Disciplinary Counsel’s brief before the Court of Appeals dated March 29, 2018, Ms.
Porter attempted to address, the reasonableness of my reliance on my father’s belief
that Mrs. Ackerman had capacity to understand the nature and effect of her actions and
that my father had obtained Mrs. Ackerman’s consent to the legal strategy employed.
Instead of discussing whether my reliance on my father’s statements to me about the
Ackerman litigation was reasonable or not, Ms. Porter made arguments such as “[J.P.
Szymkowicz] took no steps to ascertain that his father had made the necessary
disclosures, or that Mrs. Ackerman understood and appreciated her risks and
alternatives” and “[w]ith access to the medical reports and Ms. Ackerman’s testimony
showing her cognitive and memory deficits, [J.P. Szymkowicz] cannot escape
responsibility for knowing of her compromised condition,” ,” Disciplinary Counsel’s
December 12, 2014 Brief to Court of Appeals 45; Disciplinary Counsel’s March 29, 2018
Brief to Court of Appeals 16.




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       The transcript of the proceedings before the Hearing Committee shows that there
was extensive testimony that concerns (a) my reliance on my father’s statements that
Mrs. Ackerman was competent [See Tr. 1671, 1770-1771], (b) my reliance on my
father’s statements that Mrs. Ackerman waived any conflict of interest between her and
her son [See Tr. 1705-1706, 1910-1912] and (c) my belief of my father’s truthfulness
based on years of knowing him [See Tr. 1682-1685, 1910-1912]. Rather than address
Rule 5.2, concerning the responsibility of “subordinate lawyers,” Ms. Porter attempted to
“lump” me in with my father with regard to distinct acts in which he allegedly participated
in order to “keep me in the case.”

              1.     Ms. Porter’s false statements to the Board on Professional
              Responsibility and the Court of Appeals that were made to “keep me
              in the case.”

        Ms. Porter made false statements to the Board on Professional Responsibility
and the Court of Appeals about what I did (or did not do) that had no support in the
record whatsoever. Ms. Porter made these false statements with the purpose of
clouding the issue of what specifically I did or did not do and did so in an effort to have
the Board and Court punish me, in addition to my father, in case he was found to have
committed violations of the Rules of Professional Conduct. Ms. Porter’s actions to
“lump” me in with my father with regard to his interactions with Mrs. Ackerman did not
occur before the Hearing Committee, presumably because the Hearing Committee
would have “caught” her in her deception, but did occur during proceedings before the
Board on Professional Responsibility and the Court of Appeals (which did not have the
detailed recollection of the facts that the Hearing Committee had). For example, before
the Hearing Committee, Ms. Porter, used language that did not include me, such as
“JTS and SA Jr. induced Mrs. Ackerman to sign a new complaint against Frank Abbott
by telling her that it would end the litigation.” Disciplinary Counsel’s April 19, 2010 Brief
to the Hearing Committee 35. Ms. Porter’s choice of language in filings before the
Board on Professional Responsibility and the Court of Appeals was intentional, in the
sense that she had actual knowledge that what she wrote was misleading, at best, or
outright false, at worst, and her falsehoods were material to the proceeding, in the
sense that she wanted to “exaggerate” my involvement (or lack thereof) in the case to
keep me in the case after the Hearing Committee found in my favor. These false
statements include:

       a.     “the Szymkowiczes had promised Mrs. Ackerman that they would
       drop the litigation if she revoked the trust.” Disciplinary Counsel’s Brief
       before the Court of Appeals dated December 12, 2014 at 13. [There is no
       evidence in the record that I “promised” Mrs. Ackerman anything].

       b.    “the other Respondents, Silverman and King – even when they
       were brought in – first, they were brought in by the Szymkowiczes and the
       son.” Transcript of June 3, 2015 Oral Argument before the Court of



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Appeals 13. [There is no evidence in the record that I “brought in” Ms.
Silverman or Mr. King].

c.     “The Szymkowiczes and [Dr.] Ackerman persuaded Ms. Ackerman
to sign the complaint initiating Ackerman II, by promising her that her son
would dismiss or drop his own case and ‘end the litigation.’” Disciplinary
Counsel’s Brief before the Board on Professional Responsibility dated
November 23, 2015 at 12. [There is no evidence in the record that I
“persuaded” Mrs. Ackerman to do anything].

d.    “The POAs and other documents that the Szymkowiczes had Ms.
Ackerman sign in favor of her son also gave rise to conflicts.” Disciplinary
Counsel’s Brief before the Board on Professional Responsibility dated
November 23, 2015 at 13. [There is no evidence in the record that I “had
Mrs. Ackerman sign” anything].

e.     “[I]n November 2005, the Szymkowiczes had Ms. Ackerman
execute a new POA in favor of her son, as well as other documents
including a revocation of her trust, that also benefitted her son.”
Disciplinary Counsel’s Brief before the Board on Professional
Responsibility dated November 23, 2015 at 14. [There is no evidence in
the record that I “had Mrs. Ackerman execute” anything].

f.      “The Szymkowiczes first assisted the son in filing a lawsuit, to
dispute the trust and secure one of the properties for himself, despite the
clause disinheriting beneficiaries who challenged the trust. Three years
later they undertook to represent his mother at the same time, promising
that her son would drop his suit if she litigated to under to trust herself.”
Disciplinary Counsel’s Brief before the Court of Appeals dated January 18,
2018 at 2-3. [There is no evidence in the record that I ever “promised”
Mrs. Ackerman anything].

g.     “The Szymkowiczes secured other POAs in the son’s favor on
November 22, 2005, and then repeatedly had his mother execute new
POAs in his favor over the next 15 months.” Disciplinary Counsel’s Brief
before the Court of Appeals dated January 18, 2018 at 10. [There is no
evidence in the record that I “secured” any document from Mrs.
Ackerman].

h.      “One or both Szymkowiczes took part in many of these
communications [with successor counsel Leslie Silverman and Robert
King].” Disciplinary Counsel’s Brief before the Court of Appeals dated
January 18, 2018 at 15. [There is no evidence in the record that I “took
part” in any substantive “communications” with Ms. Silverman or Mr. King].



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i.      “None of the lawyers discussed the documents [Mrs. Ackerman’s
new will and an assignment of assets to Dr. Ackerman] with her, or the
risks, alternatives, or implications of signing them. They gave them to her
son, informing him that he could sign the Assignment for her under
authority of a POA.” Disciplinary Counsel’s Brief before the Court of
Appeals dated January 18, 2018 at 15. [There is no evidence in the
record that I “gave” Dr. Ackerman a copy of Mrs. Ackerman’s will or
assignment of assets or “informed” him that he could sign the Assignment
to her under authority of a POA].

j.      “in November 2007, Stephen Ackerman, Jr. tried an almost
opposite approach – with cooperation from all four lawyers. After
contacting the D.C. Agency on Aging, he petitioned the Probate Court for
appointment as his mother’s guardian and conservator because she was
incapacitated (he claimed, as a result of macular degeneration, but he
verified that she lacked capacity to care for herself or to obtain, administer
or dispose of property and income).” Disciplinary Counsel’s Brief before
the Court of Appeals dated January 18, 2018 at 18-19. [There is no
evidence in the record that I “cooperated” with Stephen Ackerman, Jr. in
“contacting the D.C. Agency on Aging or “petitioning” the Probate Court].

k.      “The record evidence does not support the Board’s finding that the
Szymkowiczes ended their representation of Ms. Ackerman on March 7,
2017 – the day JTSzymkowicz and Silverman filed a praecipe in
Ackerman II substituting the latter for the former as Ms. Ackerman’s
counsel in the litigation. Rather, clear record evidence demonstrated that
the Szymkowiczes continued to act as counsel for Ms. Ackerman in their
subsequent meetings, and when they prepared legal documents for her to
sign that they maintained and used.” Disciplinary Counsel’s Brief before
the Court of Appeals dated January 18, 2018 at 44. [There is no evidence
in the record that I “prepared legal documents” for Mrs. Ackerman to sign].

l.     “Silverman and King acted in concert with Stephen Ackerman, Jr.
and the Szymkowiczes from whom they got their information.” Disciplinary
Counsel’s Brief before the Court of Appeals dated January 18, 2018 at 47.
[There is no evidence in the record that I provided “information” to Ms.
Silverman or Mr. King].

m.    “That the Szymkowiczes withdrew as counsel in Ackerman II
because Mr. Szymkowicz was going to be a witness. The assignment
was actually signed in August of 2007 which was around the time that Mr.
Szymkowicz or the Szymkowiczes created the document.” Timestamp




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      14:32 of the April 11, 2018 oral argument in the Court of Appeals. [There
      is no evidence in the record that I “created” this assignment].

      n.     “I think there’s more than clear and convincing evidence in the
      record, particularly from the perspective of Ms. Ackerman, who, while the
      Szymkowiczes may - who withdrew as counsel in the Ackerman II case,
      continued to be involved in every legal matter that she – going forward. It
      was basically a seamless, I guess, representation as far as Ms. Ackerman
      was concerned.” Timestamp 25:38 of the April 11, 2018 oral argument in
      the Court of Appeals. [There is no evidence in the record that I was
      “involved” in Stephen Ackerman, Jr.’s Petition for Guardianship of Mrs.
      Ackerman, Probate Intervention Case Number 407-07. Stephen
      Ackerman, Jr. originally filed this Petition pro se, but later retained Claude
      Roxborough, Esquire as his counsel in this proceeding].

      o.       “The power of attorney. Her daughter had been taking care of all of
      her needs, all of her financial obligations since her stroke in the late
      nineties. This was going to change things dramatically. And, again, no
      disclosure, no explanation about the risk, the alternatives, so it didn’t give
      Ms. Ackerman the information that she needed, not only with respect to
      the litigation, but with respect to the other, I guess, transactions, or
      documents that the Szymkowiczes had Ms. Ackerman sign.” Timestamp
      31:34 of the April 11, 2018 oral argument in the Court of Appeals. [There
      is no evidence in the record that I “had Mrs. Ackerman sign” anything].

      The result of Ms. Porter’s false and misleading statements to the Board on
Professional Responsibility and the Court of Appeals is that I was “kept in the case” for
six more years after the Hearing Committee found that I “reasonably rel[ied] on JTS’s
determination of Mrs. Ackerman’s capacity and her waiver of any conflict.” Hearing
Committee’s Findings of Fact and Proposed Conclusions of Law at 101.

      C.    The Investigation into Ms. Porter’s Conduct should look into whether
      Ms. Porter used her Former Colleague, Professor Michael Frisch, and his
      “Legal Profession Blog” to Tarnish my Law Firm in the Legal Community
      and Improperly Influence the Board on Professional Responsibility and
      Court of Appeals (and its Law Clerks) to Side with Disciplinary Counsel
      against my Law Firm.4

      The investigation into Ms. Porter’s conduct should look into whether Ms. Porter
used her former colleague at the Office of Disciplinary Counsel and current colleague at
Georgetown University Law Center, Professor Michael Frisch, to tarnish my law firm’s


4    Printouts of Professor Frisch’s blog posts related to this case are attached in the
Appendix attached to this letter.


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reputation in the legal community and improperly influence the Board on Professional
Responsibility and Court of Appeals (and its law clerks) to side with Disciplinary
Counsel against my law firm. Professor Frisch publishes an influential “Legal
Profession Blog,” found at https://lawprofessorstypepad.com/legal_profession.
Professor Frisch and Ms. Porter are both adjunct professors of law at the Georgetown
University Law Center who teach courses in professional responsibility.
https:www.law.georgetown.edu/faculty/michael-s-
Frisch/ and https:www.law.georgetown.edu/faculty/julia-l-porter/.

       I do not recall that Professor Frisch attended any of the proceedings before the
Hearing Committee in my case; accordingly, he would not have had the personal
knowledge sufficient to provide any “color” to the reporting on my case that he provided
on his blog. The statements he published in his blog about my case provided a
“slanted” view against my firm and in favor of Mrs. Abbott and Ms. Porter, and it would
have been virtually impossible for him to have come to the conclusions that he made
based on a reading of the Hearing Committee’s Findings of Fact and Conclusions of
Law alone.

       In an article published on Professor Frisch’s blog on August 17, 2018 entitled
“D.C. Disciplinary Counsel has New Leadership,” Professor Frisch stated:

      The District of Columbia Office of Disciplinary Counsel has its top
      positions in place with the elevation of Julia Porter to Deputy Disciplinary
      Counsel. With Phil Fox and Ms. Porter at the helm, the office is blessed
      with effective leadership for the first time in decades. Thus one will likely
      see fewer of the cases that take eight or more years to investigate and a
      decade or more to go from soup to nuts. . . . Disclosure: Deputy Porter
      and I were colleagues at Bar Counsel for a decade, regularly co-
      counseled cases and have co-taught ethics courses at Georgetown Law
      for many years. I am biased in her favor. [emphasis added].

       An investigation into Ms. Porter’s conduct in my case might also consider looking
into whether Ms. Porter was connected to an article published in the Summer 2014
issue of the Georgetown Journal of Legal Ethics entitled “Clients with Diminished
Capacity Seek Attorneys with Augmented Integrity” by Georgetown Law student Liza
Magley. 27 Geo. J. Legal Ethics 705.

      1.      Professor Frisch’s October 22, 2012 Blog Post.

        The first article that Professor Frisch wrote about my case is “The Worst Hearing
Committee Report in D.C. History,” published on his blog on October 22, 2012. This
article states:




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I have been carefully reviewing a District of Columbia hearing committee
report issued recently that exonerates four attorneys on charges of
conflicts of interest and dishonesty in a case involving the alleged abuse
and manipulation of an elderly woman "client."

The evidence in the case supports a conclusion that the attorneys, in the
course of representing the woman's son, purported to represent her as
well and caused her to execute a series of documents giving control or
complete ownership of her property to him. The result was the significant
depletion of the woman's financial resources (and she paid for the ensuing
litigation brought in her name), the withdrawal of two of the attorneys after
a judge had raised the conflict issue and a court determination by one of
the most respected jurists in the District of Columbia that the woman had
not been competent to sign the documents that the attorneys had drafted
for the benefit of the son.

After they withdrew, the two attorneys continued to stage-manage the dual
representation by hiring and paying successor counsel (with the woman's
money) and drafting legal documents for the woman's signature.

The hearing committee, throughout its report, repeatedly states that there
was "no evidence" of any ethical violations. In fact, there was the
testimony of twelve witnesses called by Bar Counsel and the orders of
Superior Court judges that provided compelling evidence of the charged
misconduct. The hearing committee simply chose to ignore it.

In particular, the hearing committee viciously attacks the complainant (the
woman's loving daughter) as biased and incredible.

The reason?

She was angry and upset with the attorneys and was not a lawyer or legal
ethics expert herself. Thus, her entire testimony was ignored due to so-
called "bias."
In my opinion, she had every right to be furious with the attorneys who had
manipulated and endangered her mother and, based on this execrable
report, has every right to regard the self-regulated legal profession as a
fraud on the public.

As to the conflict, the hearing committee reasoned that the woman loved
her son and wished for "peace in the family." Thus, there was no need to
explore the significant conflicts in the dual representations or deal with the
overwhelming evidence of her incompetence and inability to consent to
the conflict when she "retained" them.



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In sum, the report reflects the most superficial reasoning and failure to
comprehend fundamental principles of legal ethics that I've seen in nearly
30 years of reading these reports.

When I read the report, I wondered about the background of the
committee chair and surprise, surprise: He's an elder care lawyer. He
signed (and presumably authored) an opinion that makes it nearly
impossible to prosecute lawyer elder abuse. A classic "fox guards
henhouse" approach to bar discipline.

And then, this from the committee chair's law partner hits my in box:

       My partner, John Quinn, chaired a Board on Professional
       Responsibility panel which decided the attached case
       against Bar Counsel and in favor of the lawyers involved.
       The case spanned several years and the opinion is 219
       pages. It is the only case known to the Hearing Committee
       that squarely deals with the difference between legal
       competency and legal capacity. I recommend reading it in
       that it involved charges of Bar Counsel of conflicts of
       interest, dishonesty, fraud and other ethical violations
       against several attorneys alleging that they represented a
       client who Bar Counsel alleged was "incompetent…suffered
       from cognitive impairment…and memory problems." The
       report cites the relevant cases and other authorities that are
       pertinent and useful to practitioners.

I find this shocking, but at least it makes the agenda of this report crystal
clear: protect the profession, trash the victim of misconduct (and
discourage other victims from coming forward), make future Bar Counsel
prosecutions virtually impossible and use the whole thing as a marketing
tool.

It also is noteworthy that it took the hearing committee over 2 1/2 years to
produce this whitewash, notwithstanding a rule that requires
that the report be filed within 120 days of the close of the hearing.

              a.    Ms. Porter referenced, without attribution, Professor
              Frisch’s allegation that the law partner of the Hearing
              Committee’s chairman, John Quinn, wrote the email that
              Professor Frisch discussed in his October 22, 2012 blog post.




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       Ms. Porter referenced, without attribution, Professor Frisch’s allegation that the
law partner of the Hearing Committee’s chairman, John Quinn, wrote the email that
Professor Frisch discussed in his October 22, 2012 blog post when she stated on page
17 of Disciplinary Counsel’s Brief before the Court of Appeals dated January 18, 2018,
“The Hearing Committee touted the visibility of this case, to the rest of the bar.”

      2.      Professor Frisch’s December 24, 2012 Blog Post.

       Professor Frisch’s contact with Ms. Porter becomes more likely than not when
reading his blog post entitled, “Worst to First” published on December 24, 2012, which
stated

      Readers of this blog may recall that I recently severely criticized a District
      of Columbia hearing committee for absolving four attorneys on charges of
      elder abuse by failing to deal with the evidence and attacking the
      complainant and Bar Counsel rather than resolving the case.

      With typical understatement, I called the report the worst in D.C. bar
      history.

      Bar Counsel has appealed the case to the Board on Professional
      Responsibility. Hopefully, justice will eventually prevail.

                    a.    Notices of Appeal and Briefs filed before the Board on
                    Professional Responsibility are not found on the internet and
                    are only available by viewing the Board’s files in person or by
                    receiving them from someone intimately involved in the case –
                    such as Ms. Porter.

       The reason that it is more likely than not that Professor Frisch and Ms. Porter
were in contact about my case is the fact that Notices of Appeal and Briefs filed before
the Board on Professional Responsibility are not found on the internet and are only
available by viewing the Board’s files in person or by receiving them from someone
intimately involved in the case – such as Ms. Porter.

      3.      Professor Frisch’s July 28, 2014 Blog Post.

      Professor Frisch published another blog on Monday July 28, 2014 (just three
days after the Board on Professional Responsibility posted its order dismissing all
charges against my firm on Friday July 25, 2014). This blog post was entitled “Worst
Report Affirmed,” and stated, in relevant part:

      In October 2012, I posted a comment about a report of a District of
      Columbia hearing committee that absolved four lawyers who I believe



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      were proven to have engaged in serious misconduct involving the abuse
      of an elderly woman suffering from dementia.

      The post was titled The Worst Hearing Committee Report in D.C. Bar
      History.

      ...

      Well, two years have passed and the Board on Professional Responsibility
      affirmed the findings last week.

      The majority opinion calls the case one that is resolved by the hearing
      committee's "credibility" determinations, thereby absolving themselves of
      the work of actually studying the record and evaluating the wealth of
      evidence that the hearing committee simply ignored in aid of its steadfast
      desire to find no misconduct.

      ...

      In other words, it's fine to ignore the findings of judges and the
      observations of a dozen witnesses if you accept the self-serving
      statements of the attorneys that they did not know that their so-called
      "client" was incapable of decision-making.

      ...

      [T]his is a "sad case," but not for the reasons set forth. The case sadly
      reflects the inability of the BPR to deal meaningfully with a case in which
      the hearing committee entirely failed to do its job.

      4.      Professor Frisch’s September 17, 2015 Blog Post.

     After the Court of Appeals remanded the case to the Board on Professional
Responsibility on September 17, 2015, Professor Frisch published a blog post that
same day that stated, in relevant part:

      The District of Columbia Court of Appeals has remanded the case
      involving The Worst Hearing Committee
      Report in D.C. Bar history.

      The court sustained the Board of Professional Responsibility's rejection of
      dishonesty charges and remanded for further consideration of conflict of
      interest charges.




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      There are several aspects of this action that I find unfortunate in a case
      that was so poisoned by counterfactual fact findings.

      ...

      My review of the record inescapably leads to a contrary conclusion to the
      findings of a[n] obviously rogue hearing committee.

      Second, the court should never remand matters to the BPR when it clearly
      is on record that it believes no misconduct occurred.

      Well, as a judge of the court once said, I have a vote and you (loyal
      blogger) do not.

      ...

      I view this result as somewhat better than a Get Out of Jail Free Card but
      have little hope that the board will treat the matter with the seriousness it
      richly deserves.

      5.      Professor Frisch’s May 22, 2017 Blog Post.

       Professor Frisch published another blog post on May 22, 2017 entitled “The Most
Blatant Regulatory Failure in D.C. Bar History Nears A Conclusion.” This blog post
stated, in relevant part:

      The seemingly endless saga caused by The Worst Hearing Committee
      Report in D.C. Bar History continues with a report on remand from the
      District of Columbia Court of Appeals to its Board on Professional
      Responsibility that absolves four attorneys from the most horrific case of
      elder abuse conflicts of interest I have ever seen.

      ...

      In other words, it's fine to ignore the findings of multiple judges and the
      observations of a dozen witnesses if you accept the self-serving
      statements of the attorneys that they did not know that their so-called
      "client" was incapable of decision-making.

      The majority's logic would absolve an attorney of conversion if the lawyer
      denied that the money was gone, even if the bank records proved it.

      A concurring opinion would find that the attorneys were aware that their
      "client" was incapacitated and that her interests conflicted with those of



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       her son. Somehow, and for reasons that escape me, those conclusions
       did not lead to findings of serious ethical violations.

       ...

       Here, in May 2017, the board made true my prediction. Disciplinary
       Counsel can appeal this atrocity to the court, which will face the moral
       dilemma of attempting to honor its fact finding standard of review
       (deferring to a hearing committee that utterly failed to do its job and a
       board unwilling to police it) and the undeniable facts that justify the
       severest discipline. If there ever was a case in D.C. where the disciplinary
       system perpetrated a greater injustice and more fully failed in its stated
       public protection purpose, it has escaped my attention. For those of
       sufficiently strong stomach, the report in In re Szymkowicz, Szymkowicz,
       Silverman & King can be accessed through this link [. . .].

       6.      Professor Frisch’s November 8, 2018 Blog Post.

        Within a few minutes after the Court of Appeals posted its final opinion in my
firm’s case on the Court’s website on November 8, 2018, Professor Frisch published a
blog post that was updated several times over the next few days. The final post was
entitled “District of Columbia Court Absolves Attorneys of Horrific Elder Abuse Conflict.”
This blog post states:

       The District of Columbia Court of Appeals has in a per curiam decision
       affirmed the most pro-attorney, anti-public protection recommendation in
       the history of the D.C. discipline system. As a consequence, attorneys
       who clearly engaged in a gross conflict of interest get off scot-free for
       horrific elder abuse.
       A hollow tsk tsk is all the court can muster

               In sum, although we fully understand Disciplinary Counsel’s
               concerns about the Szymkowiczes’ conduct in this case, we
               accept the Board’s conclusion that the Szymkowiczes were
               not shown by clear and convincing evidence to have violated
               Rule 1.7.

       The court majority's "full understanding" offers faint if no hope to future
       victims. And does nothing to instruct the Bar and public on the ethics of
       elder care abuse. Rather, the court's discussion of burden shifting has no
       practical consequence but to tie the hands of Disciplinary Counsel in
       proving conflicts. There is no case in the history of the D.C. disciplinary
       where a hearing committee, the board and the court so studiously ignored
       the proven facts to achieve the desired result.



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         ...

         The injustice perpetrated in these disgraceful proceedings was a direct
         result of the court and board's unwarranted deference to the agenda of the
         hearing committee chair . . .

         ...


         During the pendency of these proceedings, I reached out to respected
         members of the probate bar who uniformly expressed horror at what these
         lawyers did but were reluctant to speak out in public. This is - simply put -
         Exhibit One in anyone's indictment of the "self-regulating" District of
         Columbia legal profession.

         A very disappointing day.

V.       CONCLUSION.

         A.      Potential Charges Against Ms. Porter.

   I believe that the facts support charges that Ms. Porter violated several Rules of the
District of Columbia Rules of Professional Conduct, including:

     •   Rule 3.2 (a), entitled “Expediting Litigation,” which states, “In representing a
         client, a lawyer shall not delay a proceeding when the lawyer knows or when it is
         obvious that such action would serve solely to harass or maliciously injure
         another.”5

     •   Rule 3.1, entitled “Meritorious Claims and Contentions,” which states, in relevant
         part, “A lawyer shall not bring or defend a proceeding, or assert or controvert an
         issue therein, unless there is a basis in law and fact for doing so that is not



5       Comment 1 to Rule 3.2 states, “Dilatory practices bring the administration of
justice into disrepute. Delay should not be indulged merely for the convenience of the
advocates, or for the purpose of frustrating an opposing party’s attempt to obtain rightful
redress or repose. It is not a justification that similar conduct is often tolerated by the
bench and bar. The question is whether a competent lawyer acting in good-faith would
regard the course of action as having some substantial purpose other than delay.
Realizing financial or other benefit from otherwise improper delay in litigation is not a
legitimate interest of the client.”



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        frivolous, which includes a good-faith argument for the extension, modification, or
        reversal of existing law.”6

    •   Rule 3.3 (a), entitled “Candor to Tribunal,” which states, in relevant part, “A
        lawyer shall not knowingly: (1) Make a false statement of fact or law to a tribunal
        or fail to correct a false statement of material fact or law previously made to the
        tribunal by the lawyer.” . . . (4) Offer evidence that the lawyer knows to be false.”7

    •   Rule 3.4 (e), entitled “Fairness to Opposing Party and Counsel,” which states, in
        relevant part, “A lawyer shall not: . . . (e) In trial, allude to any matter that the
        lawyer does not reasonably believe is relevant or that will not be supported by
        admissible evidence, assert personal knowledge of facts in issue except when
        testifying as a witness, or state a personal opinion as to the justness of a cause,
        the credibility of a witness, the culpability of a civil litigant, or the guilt or
        innocence of an accused.”

    •   Rule 3.5 (a), entitled “Impartiality and Decorum of the Tribunal,” which states, in
        relevant part, “A lawyer shall not: (a) Seek to influence a judge, juror, prospective
        juror, or other official by means prohibited by law.”

    •   Rule 3.7 (a), entitled “Lawyer as Witness,” which states “A lawyer shall not act as
        advocate at a trial in which the lawyer is likely to be a necessary witness except
        where: (1) The testimony relates to an uncontested issue; (2) The testimony



6      Comment 1 to Rule 3.1 states, in relevant part, “The advocate has a duty to use
legal procedure for the fullest benefit of the client’s cause, but also a duty not to abuse
legal procedure.” Comment 2 to Rule 3.1 states, in relevant part, that lawyers “are
required to inform themselves about the facts of their clients’ cases and the applicable
law and determine that they can make good faith arguments in support of their clients’
positions.”

7       Comment 2 to Rule 3.3 states, in relevant part, “An assertion purported to be
made by the lawyer, as in an affidavit by the lawyer or in a statement in open court, may
properly be made only when the lawyer knows the assertion is true or believes it to be
true on the basis of a reasonably diligent inquiry. There may be circumstances where
failure to make a disclosure is the equivalent of an affirmative misrepresentation. If the
lawyer comes to know that a statement of material fact or law that the lawyer previously
made to a tribunal is false, the lawyer has a duty to correct the statement.” Comment 3
to Rule 3.3 states, in relevant part, “Legal argument based on a knowingly false
representation of law constitutes dishonesty toward the tribunal. A lawyer is not
required to make a disinterested exposition of the law, but must recognize the existence
of pertinent legal authorities. . . . The underlying concept is that legal argument is a
discussion seeking to determine the legal premises properly applicable to the case.”


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        relates to the nature and value of legal services rendered in the case; or (3)
        Disqualification of the lawyer would work substantial hardship on the client.”

    •   Rule 3.8, entitled “Special Responsibilities of a Prosecutor,” which states, in
        relevant part, “The prosecutor in a criminal case shall not: . . . (b) File in court or
        maintain a charge that the prosecutor knows is not supported by probable cause;
        (c) Prosecute to trial a charge that the prosecutor knows is not supported by
        evidence sufficient to establish a prima facie showing of guilt; (d) Intentionally
        avoid pursuit of evidence or information because it may damage the
        prosecution’s case or aid the defense; (e) Intentionally fail to disclose to the
        defense, upon request and at a time when use by the defense is reasonably
        feasible, any evidence or information that the prosecutor knows or reasonably
        should know tends to negate the guilt of the accused or to mitigate the offense,
        or in connection with sentencing, intentionally fail to disclose to the defense upon
        request any unprivileged mitigating information known to the prosecutor and not
        reasonably available to the defense, except when the prosecutor is relieved of
        this responsibility by a protective order of the tribunal; [and] (f) Except for
        statements which are necessary to inform the public of the nature and extent of
        the prosecutor’s action and which serve a legitimate law enforcement purpose,
        make extrajudicial comments which serve to heighten condemnation of the
        accused.”8

    •   Rule 8.4, entitled “Misconduct,” which states, in relevant part, “It is professional
        misconduct for a lawyer to: . . . (c) Engage in conduct involving dishonesty, fraud,
        deceit, or misrepresentation; [and] (d) Engage in conduct that seriously interferes
        with the administration of justice.”

        B.      Information to Seek in an Investigation of Ms. Porter.

   I believe that the following information may be relevant in determining whether Ms.
Porter violated any Rules of the District of Columbia Rules of Professional Conduct
during her prosecution of my case:

    •   Information concerning the November 2005 meeting between Mrs. Ackerman, on
        the one hand, and Ms. Porter and her investigator, on the other hand.

    •   All communications between the Office of Disciplinary Counsel and Mary
        Frances Abbott



8     Comment 1 to Rule 3.8 states, in relevant part, “A prosecutor has the
responsibility of a minister of justice and not simply that of an advocate. This
responsibility carries with it specific obligations to see that the defendant is accorded
procedural justice and that guilt is decided upon the basis of sufficient evidence.”


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                      APPENDIX

   PROFESSOR FRISCH’S BLOG POSTS




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       Professor Frisch’s Blog Post
   “The Worst Hearing Committee Report
           in D.C. Bar History”
             October 22, 2012




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Legal Profession Blog
Monday, October 22, 2012

The Worst Hearing Committee Report In D.C. Bar History
By Legal Profession Prof

I have been carefully reviewing a District of Columbia hearing committee report issued recently that exonerates four attorneys on charges
of conflicts of interest and dishonesty in a case involving the alleged abuse and manipulation of an elderly woman "client."

The evidence in the case supports a conclusion that the attorneys, in the course of representing the woman's son, purported to represent
her as well and caused her to execute a series of documents giving control or complete ownership of her property to him. The result was
the significant depletion of the woman's financial resources (and she paid for the ensuing litigation brought in her name), the withdrawal
of two of the attorneys after a judge had raised the conflict issue and a court determination by one of the most respected jurists in the
District of Columbia that the woman had not been competent to sign the documents that the attorneys had drafted for the benefit of the
son.

After they withdrew, the two attorneys continued to stage-manage the dual representation by hiring and paying successor counsel (with
the woman's money) and drafting legal documents for the woman's signature.

The hearing committee, throughout its report, repeatedly states that there was "no evidence" of any ethical violations. In fact, there was
the testimony of twelve witnesses called by Bar Counsel and the orders of Superior Court judges that provided compelling evidence of
the charged misconduct. The hearing committee simply chose to ignore it.

In particular, the hearing committee viciously attacks the complainant (the woman's loving daughter) as biased and incredible.

The reason?

She was angry and upset with the attorneys and was not a lawyer or legal ethics expert herself. Thus, her entire testimony was ignored
due to so-called "bias."

In my opinion, she had every right to be furious with the attorneys who had manipulated and endangered her mother and, based on this
execrable report, has every right to regard the self-regulated legal profession as a fraud on the public.

As to the conflict, the hearing committee reasoned that the woman loved her son and wished for "peace in the family." Thus, there was
no need to explore the significant conflicts in the dual representations or deal with the overwhelming evidence of her incompetence and
inability to consent to the conflict when she "retained" them.

In sum, the report reflects the most superficial reasoning and failure to comprehend fundamental principles of legal ethics that I've seen in
nearly 30 years of reading these reports.

When I read the report, I wondered about the background of the committee chair and surprise, surprise: He's an elder care lawyer. He
signed (and presumably authored) an opinion that makes it nearly impossible to prosecute lawyer elder abuse. A classic "fox guards
henhouse" approach to bar discipline.

And then, this from the committee chair's law partner hits my in box:

    My partner, John Quinn, chaired a Board on Professional Responsibility panel which decided the attached case against Bar Counsel
    and in favor of the lawyers involved.The case spanned several years and the opinion is 219 pages. It is the only case known to the
    Hearing Committee that squarely deals with the diﬀerence between legal compentency and legal capacity. I recommend reading it in
    that it involved charges of Bar Counsel of conflicts of interest, dishonesty, fraud and other ethical violations against several attorneys
    alleging that they represented a client who Bar Counsel alleged was "incompetent…suﬀered from cognitive impairment..and memory
    problems." The report cites the relevant cases and other authorities that are pertinent and useful to practitioners.

    https://www.dropbox.com/s/iyu7z002yfm1q5r/Ackerman__Hearing_Committee's_Final_Decision_Order_dated_September_28_2012.pdf

I find this shocking, but at least it makes the agenda of this report crystal clear: protect the profession, trash the victim of misconduct
(and discourage other victims from coming forward), make future Bar Counsel prosecutions virtually impossible and use the whole thing
as a marketing tool.

 It also is noteworthy that it took the hearing committee over 2 1/2 years to produce this whitewash, notwithstanding a rule that requires
                                                                                                                               RX0820
that the report be filed within 120 days of the close of the hearing.
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The title to this post reflects my opinion. It calls to mind one of my favorite Seinfeld lines from Elaine to Jerry: "Just when I think you are
the shallowest man I've ever met, you manage to drain a little more out of the pool."

Just when I think these reports can't possibly get any worse, one like this one shows up. (Mike Frisch)

https://lawprofessors.typepad.com/legal_profession/2012/10/the-worst-hearing-committee-report-in-dc-bar-history.html

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         Professor Frisch’s Blog Post
               “Worst to First”
              December 24, 2012




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Legal Profession Blog: Worst To First                                                                                                        1/3/13 4:44 PM




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 S. Alan Childress                            Power »
 Conrad Meyer III Professor of Law
 Tulane Univ. Law School
                                              December 24, 2012
 • achildr[at]tulane.edu
 • Website
                                              Worst To First
                                              Readers of this blog may recall that I recently severely
 Michael S. Frisch                            criticized a District of Columbia hearing committee for
 Ethics Counsel
                                              absolving four attorneys on charges of elder abuse by
 Georgetown Law Center
                                              failing to deal with the evidence and attacking the
 •frischm[at]law.georgetown.edu
                                              complainant and Bar Counsel rather than resolving
 • Profile
                                              the case.

 Jeffrey M. Lipshaw                           With typical understatement, I called the report the
 Associate Professor of Law                   worst in D.C. bar history.
 Suffolk Law School
 • jlipshaw[at]suffolk.edu                    Bar Counsel has appealed the case to the Board on
 • Profile                                    Professional Responsibility. Hopefully, justice will
 • SSRN Author Page                           eventually prevail.

                                              Well, I have just read another hearing committee
 Contributing Editor
                                              report that is the exact opposite -- a thoroughly                 Archives
 Nancy B. Rapoport                            professional, 201 page analysis of the charges in two
 Gordon Silver Professor of Law                                                                                 Recent Posts
                                              matters with a well-reasoned and appropriate
 William S. Boyd School of Law, UNLV          recommendation of disbarment.                                     From Insider Trader To Inside Prison
 • nancy.rapoport[at]unlv.edu
 • Profile                                    The main charges involve the attorney's                           Bill Henderson is the 2d Most
 • SSRN Author Page                           representation of a plaintiff in a sex harassment case.           Influential Person in Legal Education -
                                                                                                                National Jurist Magazine
 News Readers & Feeds                         When the client became concerned about the
                                              attorney's behavior (in particular, his disrespect for a          South Of The Border
    FeedBurner Subscription Service           Superior Court judge), she discharged him.
                                                                                                                Stand By Me
                                              He retaliated with a campaign to destroy her with
                                                                                                                Letters from Jail
                                              court process that must be read to be believed. He
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                                              instituted frivolous litigation, breached confidentiality,        The Wrong Way
                                              made false statements and created false evidence. As
     Subscribe me!                            the client testified, the attorney 's conduct turned her          An Unscheduled Landing Leads To A
                                              life upside down.                                                 Legal Malpractice Claim
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  Blog Feeds                                  link by inserting the attorney's name --Ellis S. Frison.          Unprofessional Remark

                                                                                                                Illinois Battle Over Breach of
                                              Comment from Stephen Williams:
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                            Search                  The Court of Appeals is exclusively charged with
                                                                                                                An Inappropriate Colloquy Gets A
                                                    regulating the practice of law in the District of
                                                                                                                Judge Admonished


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 Resources                                          Columbia. Short of Congress removing this                   Topical Archive
                                                    authority from the Court, the Court is the only
 About Legal Profession                             entity that is able to fix this problem. And yet,           Abstracts Highlights - Academic
 Blog                                               you repeatedly refuse to lay these shortcomings             Articles on the Legal Profession
 • Comments & Content to:
                                                    at the feet of the Court which is where it really
 jlipshaw[at]suffolk.edu                                                                                        Associates
                                                    belongs.
                                                                                                                Bar Discipline & Process
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 • Google Scholar                                                                                               Billable Hours
 • Law Schools                                UPDATE: I respectfully disagree with the above
 • SSRN                                       comment. My article No Stone Left Unturned is                     Blogging
                                              premised on the proposition that the D.C. Court of
                                                                                                                Books
 Ethics                                       appeals made a fundamental error in creating and
 • ABA Center for Professional                deferring to a board dominated by volunteer lawyers.              Childress
 Responsibility
                                              When the court issues an opinion that I disagree with,            CLE
 • ABA Ethics Search
                                              I say so --here's an example. (Mike Frisch)
 • ABA Links to State Ethics and                                                                                Clients
 Professional Responsibility Sites            December 24, 2012 in Bar Discipline & Process | Permalink
 • ABA Model Rules of Professional                                                                              Comparative Professions
 Conduct
                                                                                                                Conferences & Symposia
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 Responsibility (Akron Law)                   Listed below are links to weblogs that reference
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 Robert Gould on Loyalty Trumps                                                                                 Weekly Archives
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         Professor Frisch’s Blog Post
           “Worst Report Affirmed”
                July 28, 2014




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Legal Profession Blog


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Monday, July 28, 2014

Worst Report Aﬃrmed
By Legal Profession Prof

In October 2012, I posted a comment about a report of a District of Columbia hearing committee that absolved four
lawyers who I believe were proven to have engaged in serious misconduct involving the abuse of an elderly woman
suﬀering from dementia.

The post was titled The Worst Hearing Committee Report in D.C. Bar History.

My take

     The evidence in the case supports a conclusion that the attorneys, in the course of representing the woman's son,
     purported to represent her as well and caused her to execute a series of documents giving control or complete
     ownership of her property to him. The result was the significant depletion of the woman's financial resources (and she
     paid for the ensuing litigation brought in her name), the withdrawal of two of the attorneys after a judge had raised the
     conflict issue and a court determination by one of the most respected jurists in the District of Columbia that the
     woman had not been competent to sign the documents that the attorneys had drafted for the benefit of the son.

     After they withdrew, the two attorneys continued to stage-manage the dual representation by hiring and paying
     successor counsel (with the woman's money) and drafting legal documents for the woman's signature.

     The hearing committee, throughout its report, repeatedly states that there was "no evidence" of any ethical violations.
     In fact, there was the testimony of twelve witnesses called by Bar Counsel and the orders of Superior Court judges
     that provided compelling evidence of the charged misconduct. The hearing committee simply chose to ignore it.

Well, two years have passed and the Board on Professional Responsibility aﬃrmed the findings last week.

The majority opinion calls the case one that is resolved by the hearing committee's "credibility" determinations, thereby
absolving themselves of the work of actually studying the record and evaluating the wealth of evidence that the hearing
committee simply ignored in aid of its steadfast desire to find no misconduct.

From the BPR majority opinion

     We adopt the Hearing Committee’s findings of fact because we agree that they are supported by substantial evidence.
     Despite the quantity of evidence urged by Bar Counsel, when we account for the Hearing Committee’s qualitative
     credibility determinations, we agree that Bar Counsel has not clearly and convincingly proved the charges against
     Respondents. The facts argued by Bar Counsel certainly do not “produce … a firm belief or conviction” that the
     Hearing Committee got it wrong.

In other words, it's fine to ignore the findings of judges and the observations of a dozen witnessess if you accept the self-
serving statements of the attorneys that they did not know that their so-called "client" was incapable of decision-making.

The concurring opinion would find that the attorneys were aware that their "client" was incapacitated and that her interests
conflicted with those of her son. Somehow, those conclusions did not lead to findings of serious ethical violations.

The concurrence concludes

     This is a sad case. It involves an unnecessary and bitter dispute between a brother and sister, neither of whom
     distinguished him or herself, over the financial aﬀairs of their mother. Mrs. Ackerman was visually impaired, suﬀered
     from dementia, and was distressed by the dispute between her children. The dispute resulted in extensive litigation
     that was funded by the trust established to provide for Mrs. Ackerman in her later years. The costs of that litigation
     contributed to the depletion of the trust assets such that questions were raised as to the suﬃciency of the trust to
     support Mrs. Ackerman.

     It is also a diﬃcult case. Attorneys retained to handle matters in situations such as this face diﬃcult decisions
     concerning the capacity of elderly clients to make informed and educated decisions. As noted, the Rules of
     Professional Conduct provide little guidance for when a lawyer must decline the representation, or withdraw from the
     representation of a client, who is suﬀering from dementia and other disabilities that impair her ability to function. That
     is particularly true in situations such as this where the client retains social graces, has an outward appearance of
     understanding, at some level, of what is happening, and where, as here, the client is relatively clear as to her wishes,
     even if she does not fully appreciate the consequences of her actions.

I agree that this is a "sad case," but not for the reasons set forth. The case sadly reflects the inability of the BPR to deal
meaningfully with a case in which the hearing committee entirely failed to do its job.




http://lawprofessors.typepad.com/legal_profession/2014/07/worst-report-a!rmed.html#comments                                                 Page 1 of 2

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Legal Profession Blog                                                                                                             7/29/14, 11:23 AM


The disingenuous suggestion of the concurrence that the lawyers acted in a good-faith belief as to the mother's
competence is belied by an overwhelming amount of record evidence.

And the false equivalence between brother and sister --the brother who tried (with the help of four lawyers) to loot his
mother's estate and the sister who tried to protect her -- is deeply oﬀensive to anyone who bothered to study the record of
this sorry aﬀair.

It's as if the BPR would find that the person who defends frivolous litigation is as blameworthy as the person who initiates
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I expect Bar Counsel to appeal these dismissals to the Court of Appeals.

Regardless of the eventual outcome (and I have no optimism at this point) , the story of this case is Exhibit One to prove
the failure of the volunteer disciplinary system in the District of Columbia.

In particular, this outcome serves as a warning to victims --don't bother to bring your concerns to the D.C.Bar, as you will
only get attacked for your trouble.

To be fair, the hearing committee's gross and inexcusable failure to deal with the evidence put the BPR in a diﬃcult
position. One approach would have been to apply due diligence to study and learn the record; the other is the approach
taken here --blow the whole thing oﬀ as a credibility contest and simply fail to deal with the evidence in a meaningful way.

These so-called guardians of the public trust should be thoroughly ashamed of themselves. In a just world, what happened
to Fran Abbott (the complaining daughter) would happen to them.

The BPR report can be found at this link under the names Szykmowicz, Szymkowicz, Silverman and King. (Mike Frisch)

http://lawprofessors.typepad.com/legal_profession/2014/07/worst-report-aﬃrmed.html

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http://lawprofessors.typepad.com/legal_profession/2014/07/worst-report-a!rmed.html#comments                                              Page 2 of 2

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         Professor Frisch’s Blog Post
          “Worst Report Remanded”
             September 17, 2015




                                                              RX0830
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Legal Profession Blog
Thursday, September 17, 2015

Worst Report Remanded
By Legal Profession Prof

The District of Columbia Court of Appeals has remanded the case involving The Worst Hearing Committee
Report in D.C. Bar history.

The court sustained the Board of Professional Responsibility's rejection of dishonesty charges and
remanded for further consideration of conflict of interest charges.

There are several aspects of this action that I find unfortunate in a case that was so poisoned by counter-
factual fact findings.

First, the court accepts the hearing committee's findings that the elderly victim of the gross misconduct was
legally competent.

    We take as a given for these purposes the Board’s conclusions that Ms. Ackerman had the legal
    capacity to make the decisions at issue; wanted to transfer her assets to Dr. Ackerman’s control;
    wanted to provide for Dr. Ackerman, even to her financial detriment; did not want the trust to continue;
    did not want Mr. Abbott to continue as trustee; was willing to pursue litigation to achieve these
    objectives; and was aware of the risks and costs of litigation. Nevertheless, there was evidence (largely
    if not entirely undisputed) of numerous other circumstances indicating a risk of conflicting interests
    requiring informed consent to joint representation.

My review of the record inescapably leads to a contrary conclusion to the findings of a obviously rogue
hearing committee.

Second, the court should never remand matters to the BPR when it clearly is on record that it believes no
misconduct occurred.

Well, as a judge of the court once said, I have a vote and you (loyal blogger) do not.

The remand requires an exploration of informed consent

    In the circumstances of this case, we conclude that the Szymkowiczes could not properly represent
    both Ms. Ackerman and Dr. Ackerman without obtaining informed consent to the joint representation.
    Because it concluded that informed consent was not required, the Board did not decide whether
    informed consent was obtained. The Hearing Committee did conclude that Mr. J.T. Szymkowicz
    obtained Ms. Ackerman’s informed consent. Nevertheless, “[r]ather than deciding [that] issue without
    the benefit of the Board’s judgment, we leave [the issue] for the Board to consider on remand . . . .” In re
    Hopkins, 677 A.2d 55, 63 n.17 (D.C. 1996). We do, however, note several issues that may merit the
    Board’s consideration: (1) whether, as Bar Counsel contends, respondents bear the burden of
    establishing that they obtained informed consent or whether instead Bar Counsel bears the burden in
    disciplinary proceedings of establishing the absence of informed consent; (2) whether, as the Hearing
                                                                                                RX0831

    Committee appears to have assumed, the determination whether Ms. Ackerman gave informed consent
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    should be made under the standard applicable to the determination whether a party had capacity to
    engage in a transaction; (3) whether Rule 1.7 (b)(2) is violated whenever the requisite informed consent
    is not in fact obtained, or whether instead it is a defense under the Rule that the attorney reasonably but
    mistakenly believed that informed consent had been obtained; (4) the implications of Rule 1.14,
    which addresses the obligations of a lawyer representing a client with diminished capacity, a topic we
    discuss infra with respect to the conflict-of-interest charges against Ms. Silverman and Mr. King; and (5)
    the date on which the Szymkowiczes ended their representation of Ms. Ackerman.

The court concludes that "Ms. Ackerman’s mental capacity was indisputably diminished to a degree" and
asks that the implications of Rule 1.14 be addressed on remand.

I view this result as somewhat better than a Get Out of Jail Free Card but have little hope that the board will
treat the matter with the seriousness it richly deserves. (Mike Frisch)

http://lawprofessors.typepad.com/legal_profession/2015/09/the-district-of-columbia-court-of-appeals-has-
remanded-the-case-involving-the-worst-hearing-committee-report-in-dc-bar-hist.html

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        Professor Frisch’s Blog Post
“The Most Blatant Regulatory Failure in D.C. Bar
        History Nears a Conclusion”
                 May 22, 2017




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Legal Profession Blog
Monday, May 22, 2017

The Most Blatant Regulatory Failure In D.C. Bar History Nears A
Conclusion
By Legal Profession Prof

The seemingly endless saga caused by The Worst Hearing Committee Report In D.C. Bar History continues
with a report on remand from the District of Columbia Court of Appeals to its Board on Professional
Responsibility that absolves four attorneys from the most horrific case of elder abuse conflicts of interest I
have ever seen.

From my summary of the hearing committee report

     The evidence in the case supports a conclusion that the attorneys, in the course of representing the
     woman's son, purported to represent her as well and caused her to execute a series of documents
     giving control or complete ownership of her property to him. The result was the significant depletion of
     the woman's financial resources (and she paid for the ensuing litigation brought in her name),
     the withdrawal of two of the attorneys after a judge had raised the conflict issue and a court
     determination by one of the most respected jurists in the District of Columbia that the woman had not
     been competent to sign the documents that the attorneys had drafted for the benefit of the son.

     After they withdrew, the two attorneys continued to stage-manage the dual representation by hiring and
     paying successor counsel (with the woman's money) and drafting legal documents for the woman's
     signature.

     The hearing committee, throughout its report, repeatedly states that there was "no evidence" of any
     ethical violations. In fact, there was the testimony of twelve witnesses called by Bar Counsel and the
     orders of Superior Court judges that provided compelling evidence of the charged misconduct. The
     hearing committee simply chose to ignore it.

The hearing committee report was filed in October 2012.

Nearly two years later, the board filed its first report as we reported

     From the BPR majority opinion

          We adopt the Hearing Committee’s findings of fact because we agree that they are supported by
          substantial evidence. Despite the quantity of evidence urged by Bar Counsel, when we account for
          the Hearing Committee’s qualitative credibility determinations, we agree that Bar Counsel has not
          clearly and convincingly proved the charges against Respondents. The facts argued by Bar
          Counsel certainly do not “produce … a firm belief or conviction” that the Hearing Committee got it
          wrong.

     In other words, it's fine to ignore the findings of multiple judges and the observations of a dozen
     witnesses if you accept the self-serving statements of the attorneys that they did not know RX0834
                                                                                                    that their so-
     called "client" was incapable of decision-making.
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    The majority's logic would absolve an attorney of conversion if the lawyer denied that the money was
    gone, even if the bank records proved it.

    A concurring opinion would find that the attorneys were aware that their "client" was incapacitated and
    that her interests conflicted with those of her son. Somehow, and for reasons that escape me, those
    conclusions did not lead to findings of serious ethical violations.

We noted the concurring board opinion and expressed some views about it

    The concurrence concludes

         This is a sad case. It involves an unnecessary and bitter dispute between a brother and sister,
         neither of whom distinguished him or herself, over the financial aﬀairs of their mother. Mrs.
         Ackerman was visually impaired, suﬀered from dementia, and was distressed by the dispute
         between her children. The dispute resulted in extensive litigation that was funded by the trust
         established to provide for Mrs. Ackerman in her later years. The costs of that litigation contributed
         to the depletion of the trust assets such that questions were raised as to the suﬃciency of the trust
         to support Mrs. Ackerman.

         It is also a diﬃcult case. Attorneys retained to handle matters in situations such as this face diﬃcult
         decisions concerning the capacity of elderly clients to make informed and educated decisions. As
         noted, the Rules of Professional Conduct provide little guidance for when a lawyer must decline the
         representation, or withdraw from the representation of a client, who is suﬀering from dementia and
         other disabilities that impair her ability to function. That is particularly true in situations such as this
         where the client retains social graces, has an outward appearance of understanding, at some level,
         of what is happening, and where, as here, the client is relatively clear as to her wishes, even if she
         does not fully appreciate the consequences of her actions.

    I agree that this is a "sad case," but not for the reasons set forth. The case sadly reflects the inability of
    the BPR to deal meaningfully with a case in which the hearing committee entirely failed to do its job.

    The disingenuous suggestion of the concurrence that the lawyers acted in a good-faith belief as to the
    mother's competence is belied by an overwhelming amount of record evidence.

    And the false equivalence between brother and sister --the brother who tried (with the help of four
    lawyers) to loot his mother's estate and the sister who tried to protect her -- is deeply oﬀensive to
    anyone who bothered to study the record of this sorry aﬀair.

    It's as if the BPR would find that the person who defends frivolous litigation is as blameworthy as the
    person who initiates it.

    I expect Bar Counsel to appeal these dismissals to the Court of Appeals.

    Regardless of the eventual outcome (and I have no optimism at this point) , the story of this case is
    Exhibit One to prove the failure of the volunteer disciplinary system in the District of Columbia.

    In particular, this outcome serves as a warning to victims --don't bother to bring your concerns to the
    D.C.Bar, as you will only get attacked for your trouble.

    To be fair, the hearing committee's gross and inexcusable failure to deal with the evidence put the BPR
    in a diﬃcult position. One approach would have been to apply due diligence to study and learnRX0835the

    record; the other is the approach taken here --blow the whole thing oﬀ as a credibility contest and
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     simply fail to deal with the evidence in a meaningful way.

     These so-called guardians of the public trust should be thoroughly ashamed of themselves. In a just
     world, what happened to Fran Abbott (the complaining daughter) would happen to them.

The court remanded the case back to the board in September 2015.

I said at the time

     I view this result as somewhat better than a Get Out of Jail Free Card but have little hope that the board
     will treat the matter with the seriousness it richly deserves.

Here, in May 2017, the board made true my prediction.

Disciplinary Counsel can appeal this atrocity to the court, which will face the moral dilemma of attempting to
honor its fact finding standard of review (deferring to a hearing committee that utterly failed to do its job and
a board unwilling to police it) and the undeniable facts that justify the severest discipline.

If there ever was a case in D.C. where the disciplinary system perpetrated a greater injustice and more fully
failed in its stated public protection purpose, it has escaped my attention.

For those of suﬃciently strong stomach, the report in In re Szymkovicz, Szymkovicz, Silverman & King can
be accessed through this link. (Mike Frisch)

https://lawprofessors.typepad.com/legal_profession/2017/05/the-seemingly-endless-saga-caused-by-the-
worst-hearing-committee-report-in-dc-bar-history.html

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          Professor Frisch’s Blog Post
“D.C. Disciplinary Counsel Has New Leadership”
                 August 17, 2018




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Legal Profession Blog
Friday, August 17, 2018

D.C. Disciplinary Counsel Has New Leadership
By Legal Profession Prof

The District of Columbia Oﬃce of Disciplinary Counsel has its top positions in place with the elevation of
Julia Porter to Deputy Disciplinary Counsel.

With Phil Fox and Ms. Porter at the helm, the oﬃce is blessed with eﬀective leadership for the first time in
decades.

Thus one will likely see fewer of the cases that take eight or more years to investigate and a decade or more
to go from soup to nuts.

A case docketed for investigation in 2010 has resulted in a hearing committee report proposing a 30-day
suspension with fitness and the usual "no harm, no foul" approach to the delay.

     Respondent also asserts that Disciplinary Counsel’s delays during the investigation should be
     considered in mitigating sanction. Delay may be considered a mitigating factor in determining an
     appropriate sanction. In re Williams, 513 A.2d 793, 798 (D.C. 1986) (per curiam). But, the Court has
     clarified that the circumstances must be “suﬃciently unique and compelling to justify lessening what
     would otherwise be the sanction necessary to protect the public interest.” In re Fowler, 642 A.2d 1327,
     1331 (D.C. 1994). Delays that are necessary to the decision-making process or the result of a
     respondent’s own actions or inaction do not qualify. Id.

The wrong approach of the accused attorney did not help him

     the Hearing Committee has concluded that, at times, Respondent was evasive and was non-responsive
     to questions posed by the Hearing Committee members concerning his conduct. Respondent avoided
     responding to questions that might elicit acknowledgment of his wrongful conduct.

As to fitness

     Here, Respondent admitted during the disciplinary hearing that he purposefully left earned fees in his
     IOLTA (FF 41-43, 47), that he lacked an accounting system to track funds despite having a total of six
     bank accounts for his various business entities (FF 15, 41; DX 2 at Bates 7), and that he had failed to
     exercise supervision over his non-lawyer employees’ access to his signature stamp for the IOLTA (FF
     38). Respondent failed to acknowledge the wrongfulness of this misconduct, and his testimony
     reflected his failure to appreciate his fiduciary responsibilities for the clients’ entrusted funds. Thus,
     Respondent’s conduct during the disciplinary hearing raises a serious doubt that he will act ethically
     and competently in the future when handling entrusted funds. The Hearing Committee recommends
     that Respondent be suspended from the practice of law for 30 standards, and (2) he has taken a
     continuing legal education class on law practice days. As part of his proof establishing his fitness,
     Respondent should show that (1) he has suﬃcient accounting mechanisms in place to comply with Bar
                                                                                                       RX0838
     Rules and fiduciary management and accounting.
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The case is In re Luis Salgado and can be found here.

Disclosure: Deputy Porter and I were colleagues at Bar Counsel for a decade, regularly co-counseled cases
(see, e.g. here, here and here) and have co-taught ethics courses at Georgetown Law for many years.

I am biased in her favor. (Mike Frisch)

http://lawprofessors.typepad.com/legal_profession/2018/08/the-district-of-columbia-oﬃce-of-disciplinary-
counsel-has-its-top-positions-in-place-with-the-elevation-of-julia-porter-to.html

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          Professor Frisch’s Blog Post
“District of Columbia Court Absolves Attorneys
        of Horrific Elder Abuse Conflict”
                November 8, 2018

                    ORIGINAL POST




                                                                RX0840
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Legal Profession Blog
Thursday, November 8, 2018

DIstrict Of Columbia Court Absolves Attorneys Of Horrific Elder Abuse
Conflict
By Legal Profession Prof

The District of Columbia Court of Appeals has essentially aﬃrmed the most pro-attorney, anti-public
protection recommendation in the history of the D.C. discipline system .

As a consequence, attorney s who clearly engaged in a gross conflict of interest get oﬀ scot-free for horrific
elder abuse.

There is no case in the history of the D.C. disciplinary where a hearing committee, the board and the court
so studiously ignored the proven facts to achieve the desired result.

A lone voice of integrity can be found in the dissent of Senior Judge John Steadman.

From my earlier post on this case

    The evidence in the case supports a conclusion that the attorneys, in the course of representing the
    woman's son, purported to represent her as well and caused her to execute a series of documents
    giving control or complete ownership of her property to him. The result was the significant depletion of
    the woman's financial resources (and she paid for the ensuing litigation brought in her name),
    the withdrawal of two of the attorneys after a judge had raised the conflict issue and a court
    determination by one of the most respected jurists in the District of Columbia that the woman had not
    been competent to sign the documents that the attorneys had drafted for the benefit of the son.

    After they withdrew, the two attorneys continued to stage-manage the dual representation by hiring and
    paying successor counsel (with the woman's money) and drafting legal documents for the woman's
    signature.

    The hearing committee, throughout its report, repeatedly states that there was "no evidence" of any
    ethical violations. In fact, there was the testimony of twelve witnesses called by Bar Counsel and the
    orders of Superior Court judges that provided compelling evidence of the charged misconduct. The
    hearing committee simply chose to ignore it.

I will have much more to say. (Mike Frisch)

https://lawprofessors.typepad.com/legal_profession/2018/11/district-of-columbia-court-absolves-elder-
abuse-conflict.html

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          Professor Frisch’s Blog Post
“District of Columbia Court Absolves Attorneys
        of Horrific Elder Abuse Conflict”
                November 8, 2018

                    UPDATED POST




                                                                RX0842
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Legal Profession Blog
Thursday, November 8, 2018

District Of Columbia Court Absolves Attorneys Of Horrific Elder Abuse Conflict
By Legal Profession Prof

The District of Columbia Court of Appeals has in a per curiam decision aﬃrmed the most pro-attorney, anti-public protection
recommendation in the history of the D.C. discipline system .

As a consequence, attorneys who clearly engaged in a gross conflict of interest get oﬀ scot-free for horrific elder abuse.

A hollow tsk tsk is all the court can muster

    In sum, although we fully understand Disciplinary Counsel’s concerns about the Szymkowiczes’ conduct in this case, we
    accept the Board’s conclusion that the Szymkowiczes were not shown by clear and convincing evidence to have violated
    Rule 1.7.
The court majority's "full understanding" oﬀers faint if no hope to future victims. And does nothing to instruct the Bar and public
on the ethics of elder care abuse.

Rather, the court's discussion of burden shifting has no practical consequence but to tie the hands of Disciplinary Counsel in
proving conflicts.

There is no case in the history of the D.C. disciplinary where a hearing committee, the board and the court so studiously ignored the
proven facts to achieve the desired result

The lone voice of concern can be found in the dissent of Senior Judge John Steadman

    I disagree that the structure of criminal law presents a fair analogy. Bar discipline proceedings are designed to ensure that attorneys
    abide by the rules of professional conduct that their license demands and to protect the public accordingly.

Not today.

From my earlier post on this case

    The evidence in the case supports a conclusion that the attorneys, in the course of representing the woman's son, purported to
    represent her as well and caused her to execute a series of documents giving control or complete ownership of her property to him.
    The result was the significant depletion of the woman's financial resources (and she paid for the ensuing litigation brought in her
    name), the withdrawal of two of the attorneys after a judge had raised the conflict issue and a court determination by one of the
    most respected jurists in the District of Columbia that the woman had not been competent to sign the documents that the attorneys
    had drafted for the benefit of the son.

    After they withdrew, the two attorneys continued to stage-manage the dual representation by hiring and paying successor counsel
    (with the woman's money) and drafting legal documents for the woman's signature.

    The hearing committee, throughout its report, repeatedly states that there was "no evidence" of any ethical violations. In fact, there
    was the testimony of twelve witnesses called by Bar Counsel and the orders of Superior Court judges that provided compelling
    evidence of the charged misconduct. The hearing committee simply chose to ignore it.

The injustice perpetrated in these disgraceful proceedings was a direct result of the court and board's unwarranted deference to the
agenda of the hearing committee chair as I blogged

    When I read the report, I wondered about the background of the committee chair and surprise, surprise: He's an elder care lawyer.
    He signed (and presumably authored) an opinion that makes it nearly impossible to prosecute lawyer elder abuse. A classic "fox
    guards henhouse" approach to bar discipline.

    And then, this from the committee chair's law partner hits my in box:

         My partner, John Quinn, chaired a Board on Professional Responsibility panel which decided the attached case against Bar
         Counsel and in favor of the lawyers involved.The case spanned several years and the opinion is 219 pages. It is the only case
         known to the Hearing Committee that squarely deals with the diﬀerence between legal compentency and legal capacity. I
                                                                                                                               RX0843
         recommend reading it in that it involved charges of Bar Counsel of conflicts of interest, dishonesty, fraud and other ethical
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         violations against several attorneys alleging that they represented a client who Bar Counsel alleged was "incompetent…suﬀered
         from cognitive impairment..and memory problems." The report cites the relevant cases and other authorities that are pertinent
         and useful to practitioners.

    https://www.dropbox.com/s/iyu7z002yfm1q5r/Ackerman__Hearing_Committee's_Final_Decision_Order_dated_September_28_2012.pdf

    I find this shocking, but at least it makes the agenda of this report crystal clear: protect the profession, trash the victim of
    misconduct (and discourage other victims from coming forward), make future Bar Counsel prosecutions virtually impossible and use
    the whole thing as a marketing tool.

     It also is noteworthy that it took the hearing committee over 2 1/2 years to produce this whitewash, notwithstanding a rule that
    requires that the report be filed within 120 days of the close of the hearing.

In its wisdom, the board refused to consider the above email. Ignoring it was more convenient.

During the pendency of these proceedings, I reached out to respected members of the probate bar who uniformly expressed horror at
what these lawyers did but were reluctant to speak out in public.

This is - simply put - Exhibit One in anyone's indictment of the "self-regulating" District of Columbia legal profession.

A very disappointing day. (Mike Frisch)

https://lawprofessors.typepad.com/legal_profession/2018/11/district-of-columbia-court-absolves-elder-abuse-conflict.html

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